Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 1 of 94 PageID: 9674



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY




 DAVID COX,et al.                         CIVIL ACTION NO.: 14-7573


       Plaintiff(s)
                 vs.

                                                DECLARATION OF
 CHRYSLER GROUP,LLC.                            JOHN E. KEEFE.JR.




       Defendant(s)



I, JOHN E. KEEFE, JR., of full age, hereby declare and certify as follows:

      1.    I am an attomey-at-law of the State of New Jersey and am managing

partner in the Keefe Law Firm, Co-Counsel to the Plaintiff, Andrew Manesis. I

submit this Declaration in support of the proposed Settlement, and Class

Representatives' Motion to Finally Approve the Settlement, and Award Attorneys'

Fees and Costs and Incentive Award to Mr. Manesis.


      2.    I received my Bachelors of Arts degree from Gettysburg College in

1987 and earned my law degree from Seton Hall University School of Law in

1990. Thereafter, I served as a law clerk to the Honorable Kenneth C. MacKenzie,

Presiding Judge of the Chancery Division in both Morris and Sussex Counties.

During my legal career, I have been involved in numerous class actions in the areas

of securities fraud, consumer fraud, complex product liability, and environmental
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 2 of 94 PageID: 9675



torts.


         3.    I have served as Court-Appointed Liaison Counsel on several

occasions and have been Court Appointed Co-Lead Counsel in several State Court

and MDL litigations. I am a Certified Civil Trial Attorney, an AV rated attorney

by Martindale-Hubbell, a former past President of the Trial Attorneys of New

Jersey (TANJ) and Immediate Past President of the New Jersey State Bar

Association.


         4.    I have extensive experience throughout New Jersey in handling

complex litigation, including consumer and other class action cases and other

significant contingent litigation.   Among these cases are Chaudhri v. Osram

Sylvania, Inc., 11-5504 (D. N.J.), a consumer fraud class action in the District of

New Jersey, which resulted in $30,000,000 nationwide settlement; Talalai v.

Cooper Tire <Sc Rubber Co., MID-L-8830-00 MT, a consumer class action in

Middlesex County before the Hon. Marina Corodemus, J.S.C., which resulted in a

settlement valued at between $1 billion and $3 billion for a nationwide class; Janes

V. Ciba Giegy Corporation, MID-L-1669-01 MT, an environmental class action in

Middlesex County which was finally approved in 2011 and provided class benefits

of more than $20 million; and Clemente v. New Jersey Transit, ESX-8977-08, a

wrongful death action that settled for $10 million in 2011; and Frank K. Cooper

Real Estate #1, Inc. v. Cendant Corp., MRS-L-377-02, a consumer fraud action
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 3 of 94 PageID: 9676



class action in Morris County which was resulted in settled valued at between $36

and $48 million and finally approved in 2012.



              FACTUAL AND PROCEDURAL BACKGROUND

      5.    As detailed in Plaintiffs Complaint, Defendant FCA US LLC

("FCA") manufactures numerous models of vehicles with factory installed

sunroofs, including the vehicles subject to the proposed Settlement. Class Action

Complaint, Jury Demand and Designation of Trial Counsel ("Complaint") at f 2,

Dkt. 1; see also Settlement Agreement and Release, at Section I. B. and F., attached

as Exhibit "A."


      6.    Plaintiff, Andrew Manesis, who resides in New Jersey, purchased a

2014 Jeep Compass, which was manufactured by FCA. Id, at              22; see also

Certification ofAndrew Manesis("Manesis Certification") at ^ 2, which is attached

as Exhibit"B" to this Declaration.


      7.    When the vehicle had only 2,185 miles, Mr. Manesis informed a FCA

authorized dealership that water was leaking from his sunroof and brought his

vehicle in for service. Id. at ^ 24. Despite this and other service trips, Mr.

Manesis' sunroof continued to leak. Id. at   24-25.


      8.    As alleged in Plaintiffs Complaint, since at least 1999, FCA's factory

installed sunroofs have leaked inside numerous Class vehicles. Id. at        14-28,
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 4 of 94 PageID: 9677



35-49. Although Plaintiff contends that FCA has known about its leaky sunroofs

for years, its maintenance booklets, promotional materials and other sale and lease

documents failed to disclose the sunroofs required inspections and maintenance to

prevent these leaks. See id. at     4-11, 53-59; see also Exhibits            to the

Complaint.

      9.     Additionally, when the Plaintiffs, which includes Plaintiff, Andrew

Manesis, and/or former plaintiffs, and others sought repairs under FCA's standard

3-year, 36,000 mile Basic Limited Warranty, FCA denied coverage, pointing to a

"maintenance problem" or "environmental issue" or advising not to "park under

trees" or "drive down dirt roads." M at    7, 15, 17, 19, 24, 27.

      10.    Plaintiff continues to own this vehicle. See Manesis Certification at f

2.


      11.    The gravamen of Plaintiffs Complaints and allegations against FCA

has been that FCA should have notified its customers (the Class members) about

the need to periodically clean or maintain their sunroofs. As discussed infra, the

proposed Settlement and Class benefits are tailored to this principal complaint.

      12.    FCA has vigorously denied each ofPlaintiffs allegations.

                            LITIGATION HISTORY


      13.    Based upon their problems with leaking sunroofs, former Plaintiffs,

David Cox, Melissa Doherty, Teresa Hughes, Anthony Lombardo, and Michael
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 5 of 94 PageID: 9678



Newcomb ("Plaintiffs"), began this litigation on February 8, 2012 in Miller v.

Chrysler Group LLC, Case No. 12-760 (D. N.J.) {^'Miller'' or ''Miller Action'')}

The Court terminated the Miller Action after the parties entered into a Stipulation

ofParties Regarding Termination of Case for Purposes of Refiling {"Stipulation

F'), See Miller at Dkt. 70.

      14.    Prior to Miller's dismissal, FCA had filed an omnibus motion seeking

dismissal of all ofPlaintiffs' causes of action. On June 30, 2014, this Court denied

in part and granted in part FCA's Motion to Dismiss. Miller v. Chrysler Group

LLC, No. 12-760 (D. N.J. June 30, 2014). In particular, the Court refused to

dismiss Plaintiffs' counts for breach of implied warranty of merchantability and

violations of the Magnuson-Moss Act, New Jersey Consumer Fraud Act and the

unfair and deceptive acts and practices laws of other states. See id. at *9-10, 12-

14.


      15.    Plaintiffs filed the current action on December 4, 2014. Plaintiffs pled

breach of express warranty, breach of implied warranty of merchantability,

violations of the Magnuson-Moss Warranty Act, New Jersey Consumer Fraud Act

and the unfair and deceptive acts and practices laws of other states and Andrew

Manesis was added as an additional plaintiff.        See, generally. Class Action

Complaint, Jury Demand and Designation of Trial Counsel ("Complaint") at Dkt.

'     These Plaintiffs have dismissed their claims with prejudice and are no longer
      participating in this litigation. The only plaintiff is Andrew Manesis.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 6 of 94 PageID: 9679



1. Thereafter, FCA filed its second motion to dismiss. See Dkt. 8.

      16.   On September 30, 2015, the Court denied in part and granted in part

FCA's motion. Cox v. Chrysler Group LLC, No. 14-7573 (D. N.J. September 30,

2015)("Cox OpiniorC), Dkt. 26. The Court declined to dismiss Plaintiffs counts

for breaches of express warranty and the implied warranty of merchantability,

violations of the Magnuson-Moss Warranty Act, the CFA for omission-based

claims, and the unfair and deceptive acts and practices laws of other states. See id.

at *10-12, 20-22, 25-28.

      17.   Thereafter, the parties then engaged in class certification discovery.

During this process, the parties exchanged answers to interrogatories and

performed substantial document production and review.           In particular, FCA

produced hundreds of thousands of pages and lines of data regarding its sales,

consumer complaints, FCA communications with its authorized dealers about

sunroof-related water issues and sunroof design.^ The parties deposed multiple
fact witnesses and inspected Plaintiffs and other Class vehicles.

      18.   Based upon this discovery, the parties retained multiple experts for

class certification, who submitted reports and were deposed by counsel. As these

reports are subject to the Court's Confidentiality Order and were previously

produced by the parties as exhibits to numerous motions, I have not attached them

      This class certification discovery is subject to a Confidentiality Order. See
      Dkt. 25.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 7 of 94 PageID: 9680



as exhibits.     See, e.g., Report of Dan Cowley, attached as Exhibit "J" of

Declaration of Stephen T. Sullivan, Jr. ("Sullivan Declaration"), Dkt. 136, 139;

Report ofStan V. Smith, attached as Exhibit "R" of Sullivan Declaration. Upon

the Court's request, I will produce these reports under seal.

      19.      Through the previously-described discovery. Plaintiff and Counsel

developed an in-depth understanding of the strengths and weaknesses of their

claims and FCA's defenses, which assisted and guided the extensive settlement

negotiations between the parties.

      20.      On August 15, 2016 and September 8, 2016, FCA moved for

summary judgment and exclude certain Class members from the proposed Class,

respectively. See Dkt. 49 and 53.

      21.      Plaintiff opposed these motions, and on March 30, 2017 and April 4,

2017, the Court denied FCA's requests for summary judgment and to exclude. See

Dkt. 93 and 94.


      22.      Thereafter, on April 7, 2017, FCA moved for reconsideration of the

Court's summary judgment denial, which the Court denied on August 8, 2017. See

Dkt. 96 and 129.


      23.      During the pendency of FCA's motions for summary judgment and to

exclude, on March 10, 2017, Plaintiff filed his original Motion for Class

Certification. See Dkt. 84. FCA opposed the motion, and moved to exclude
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 8 of 94 PageID: 9681



Plaintiffs liability expert. See Dkt. 100 and 101.

      24.   Likewise, Plaintiff moved to exclude FCA's liability expert and a

corporate witness. See Dkt. 112 and 117. In its Opinion on class certification,

dated October 5, 2017, the Court found that "Plaintiff has Article III standing to

bring his claims and claims for the Vehicles that he did not purchase" and to

pursue claims under the New Jersey Consumer Fraud Act. Cox v, Chrysler Group,

LLC, No. 14-7573, *7-9, Dkt. 131 (hereinafter "Certification Opinion"). It also

found that Plaintiff satisfied the prerequisites of numerosity, commonality and

adequacy of counsel. See id. at *11-14, *15-16. The Court determined, however,

that Plaintiff did not satisfy adequacy and typicality because his interests may be

antagonistic to purchasers of used Class Vehicles. See id. at *14-17. In particular,

the Court questioned whether Plaintiff could represent the interests of former or

used purchasers of vehicles because of potential differences in damages. Id.

      25.   Thereafter, on November 21, 2017, Plaintiff filed his second Motion

for Class Certification. See Dkt. 134. Again, FCA opposed the motion and filed

motions to preclude certain proposed class members, and Plaintiffs liability and

damages experts. See Dkt. 142-144. Plaintiff renewed his motions to exclude

FCA's liability expert and corporate witness. See Dkt. 164 and 169.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 9 of 94 PageID: 9682



      26.     On June 22, 2018, the Court ordered Daubert hearings on the parties'

liability experts relating for the pending motions. See Dkt. 184 and 186. These

motions and the hearings were pending when the parties reached the proposed

Settlement.




                          MEDIATION AND SETTLEMENT


      27.     Settlement negotiations were hard-fought and protracted.

      28.     After preliminary settlement discussions between Plaintiffs and

FCA's counsel, the parties agreed to mediate before a nationally-recognized

mediator, Bradley A. Winters, Esq.

      29.     The First Mediation occurred on October 10, 2018. Although this

full-day session failed to resolve the matter, the parties continued to discuss

settlement through Mr. Bradley with several telephone conferences.

      30.     As a result, on February 27, 2019, counsel again met with Mr.

Winters. After another full-day session, the parties were unable to resolve all of

their differences, but agreed to continue their discussions.

      31.     Thereafter, the Court scheduled a settlement conference for March 29,

2019. On that date, the parties consented to the Hon. Tonianne J. Bongiovanni,

U.S.M.J. conducting fiirther settlement negotiations. These negotiations consisted

of an in-person settlement conference and numerous telephone conferences with
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 10 of 94 PageID: 9683



 Judge Bongiovanni.

       32.      With Judge Bongiovanni's continued assistance, on or about

 September 10, 2019, the parties agreed to a settlement-in-principle.         This

 settlement is memorialized in the Settlement Agreement, which is attached as

 Exhibit "A."




                           SUMMARY OF SETTLEMENT


       33.    The proposed Settlement provides substantial injunctive relief to the

 Class, which meets the predominant complaints and allegations asserted by

 Plaintiff against FCA in his Complaint and the numerous substantive motions

 during this litigation.

       34.    The proposed Class consists of "individuals who purchased or leased

 in the United States a vehicle manufactured by FCA US LLC on or after June 10,

 2009 and through the date of the execution of this settlement agreement, which is

 equipped with a factory installed sunroof." See Settlement Agreement and Release

 at Section I. B.


       35.    As detailed in the Settlement Agreement, FCA agrees to provide

 significant consumer notice benefits, consisting ofthe following:

       A.     Future Owner's Manuals.


              FCA US shall include in future Owner Manuals {i.e., those that have
              not yet been finally approved for publishing) information relative to
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 11 of 94 PageID: 9684



              sunroof maintenance.


       B.     Request To Dealerships For Posting Regarding Sunroof Maintenance.

              FCAUS shall provide its authorized dealerships with a one page
              document indicating that sunroof channels should be periodically
              cleaned of debris and request that each dealership post the document
              in its customer service or waiting area.

       C.     Communication To Warranty Departments.

              FCAUS shall send a communication to its warranty department(s)
              reiterating that water-related sunroof issues are covered under the
              3 year/36,000 mile Basic Limited Warranty.

[Id. at Section III.]

       36.    For these benefits, Plaintiff and the Class release onlv their injunctive

 claims against FCA. See id. at Section VI.,^ 1-4.

       37.    They do not release any claims for personal injury or property

 damage. See id. at Section VI.^ 5.

       38.    Finally, FCA agrees not to oppose an award of attorneys' fees and

 costs and a service award to Mr. Manesis, so long as the amounts to do not exceed,

"Three Hundred Fifty Thousand Dollars ($350,000.00) for attorneys' fees; One

 Hundred Twenty-Eight Thousand Eight Hundred Seventy-Three Dollars and

 Seventy-Nine Cents ($128,873.79) for costs; and Four Thousand Dollars

($4,000.00)for an incentive award for Plaintiff." Id. at Section VII.,^ 1.

       39.    These benefits provide Class Members with information about

 sunroof maintenance, and reinforces that water-related issues to factory-installed
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 12 of 94 PageID: 9685



 sunroofs are covered by FCA's standard warranty - issued raised by Plaintiff,

 Andrew Manesis, and the former Plaintiffs, throughout this litigation, and brings

 them to industry standards.



        THE SETTLEMENT IS FAIR.REASONABLE AND ADEQUATE

       40.   Counsel believes that the Settlement is fair reasonable and adequate

 and, under Rule 23, should be approved by the Court.

       41.   Moreover, Plaintiff, Andrew Manesis, also requests that the

 Settlement be approved by the Court. See Manesis Certification at       7-8, 11, 17-

 18.


       42.    As discussed below, a review of relevant factors establishes that the

 Settlement is fair, reasonable and adequate and the Court should finally approve it.



              Continued Prosecution ofthis Action Would Be Complex,
                               Expensive, and Prolonged.

       43.   By measuring the costs of continuing the action, a court can gauge the

 benefit of settling the claim amicably.

       44.    Although much progress had been made in litigating this Action, at

 the point this Settlement was reached, much work was left to be done. Class

 Certification was pending and FCA made clear that it intended on renewing its
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 13 of 94 PageID: 9686



 motion for summary judgment motion. Moreover, the parties had yet to start

 merits discovery of Plaintiffs claims.

       45.    Undoubtedly, FCA would have continued to vigorously defend this

 Action until the conclusion of trial, which would have involved substantial pretrial

 and trial motions. The trial itself would have lasted for several weeks. Further, the

 unsuccessful parties to either the motions for class certification or summary

judgment or trial would almost certainly have appealed. In contrast to the

 uncertainty and expense involved in continued litigation, the Settlement guarantees

 immediate relief for the Class, a factor weighing heavily in favor offinal approval.



      The Stage ofthe Proceedings Supports Final Approval ofthe Settlement

       46.    The parties have been actively litigating this Action. As explained

 previously, there has been extensive motion practice in this matter, including

 multiple    substantive   motions and two       motions for     class certification.

 Additionally, Counsel and its retained experts reviewed thousands of pages of

 documents and millions of lines of data from FCA. Based upon this information,

 and other discovery, Counsel developed a solid basis on which to evaluate the

 merits of the case.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 14 of 94 PageID: 9687



     Class Representatives Faced Risks in Establishing Liability and Damages

       47.    Notwithstanding Class Counsers belief in the strength of the case,

 continued litigation through trial posed genuine risks regarding Plaintiffs and the

 Class' ability to satisfy (and maintain) the standard for class certification and

 establish prove liability and damages. Throughout the litigation, FCA has denied

 liability and asserted various defenses to Plaintiffs allegations. Assuming all of

 Plaintiffs claims survived summary judgment and/or were certified by the Court,

 the potential existed that a jury would accept FCA's arguments that it did not

 commit consumer fraud or breached its warranties to Plaintiff and the Class.

       48.    Further, recovery of damages is never certain. Plaintiff faced the risk

 that he would be unable to prove some or all of his or the Class' damages. FCA

 has argued that Plaintiff has not set a credible damages methodology. The

 determination of damages, like the determination of liability, is a complicated and

 uncertain process, involving conflicting expert opinions. The reaction of a jury to

 complex expert testimony is highly unpredictable.           The jury may reject

 assumptions underlying the expert testimony regarding damages as speculative or

 unreliable. Conceivably, a jury could find that there are no damages. A judgment

 against FCA was not a foregone conclusion. In short, when objectively and

 realistically viewed, the benefits of the Settlement outweigh the risks of

 establishing liability and damages in this case.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 15 of 94 PageID: 9688



                  Risks ofMaintaining Class Action Status Through Trial

       49.    As previously detailed, the Court denied Plaintiffs motion for class

 certification and his second motion for class certification was pending when this

 matter settled. While Counsel is confident that the Court would have granted

 Plaintiffs second motion for class certification, given the complexities of the facts

 of the case and Plaintiffs theories on liability and damages, the threat of the Court

 denying the motion again or decertify the Class at a later date remained reasonable

 possibilities. Thus, the risk of maintaining class action status through trial favors

 final approval ofthe Settlement.

       50.    Therefore, based upon the above, the proposed Settlement is fair,

 reasonable and adequate, and Plaintiff, Andrew Manesis, and Counsel respectfully

 requests that the Court grant final approval of the Settlement, and enter the

 proposed Order Granting Final Approval of Class Settlement, which is attached as

 Exhibit"A" to the Settlement Agreement.

 THE REQUESTED AWARD OF FEES,COSTS AND INCENTIVE AWARD
                    IS EXCEPTIONALLY REASONABLE


       51.    After negotiating an agreement-in-principle on the Class' benefits, the

 parties engaged in resolving Counsel's fees and costs and an Incentive Award for

 Mr. Manesis.     Like the parties' negotiations for the Class' benefits, these

 discussions were performed at arms-length with the assistance of the mediator and

 Judge Bongiovanni and heavily disputed.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 16 of 94 PageID: 9689



       52.   Ultimately, Plaintiff and Counsel agreed to $350,000.00 in fees and

 $128,873.79 in costs to Counsel, and an Incentive Award in the amount of

 $4,000.00 to Mr. Manesis. Settlement Agreement at Section VIII, ][ 1. Moreover,

 as explained in the Settlement Agreement, "[s]ubject to entry of the Final Order

 and Judgment, and with Court approval, FCA US agrees not to object to a motion

 seeking an award of attorneys' fees, costs and Class Representative service awards,

 so long as the amounts do not exceed" those presently being requested by Plaintiff

 and Counsel. Id.


       53.   During this Action's pendency, as evident from the Court's docket,

 see Exhibit "J," the parties filed numerous motions and other legal applications,

 cumulatively hundreds of pages of briefing, and participated in numerous

 conferences or hearings with the Court.

       54.   Counsel also reviewed hundreds of thousands of pages of documents

 and lines of electronic data from defendant. In evaluating this discovery. Counsel

 engaged qualified experts to assist them. Review of the documents and data took

 months to complete. This law firm participated in each of the previously-events,

 often taking primary or lead responsibility.

       55.   Had this matter not settled. Counsel and Plaintiff were prepared to

 continue litigating against the defendant, and proceeding with class certification,

 the Court-ordered Daubert hearings, and merits discovery.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 17 of 94 PageID: 9690



       56.    Based upon the previously-described extensive motion practice, class

 certification discovery and mediation and settlement process, Counsel expended

 thousands of hours in attorney and para-professional time. See, e.g., Lodestar
 Chartfor Keefe Law Firm, attached as Exhibit "C." The requested fee award of

 $350,000 is only a partial, modest recovery of Counsel's time commitment and

 investment in this litigation.

       57.    Similarly, the requested cost award of $128,873.79 represents only a

 portion of the costs expended by Counsel in prosecuting this litigation. See, e.g..

 Costs Chart ofKeefe Law Firm, attached as Exhibit "D."

       58.    These reasonable costs include experts' fees, costs of court reporters

 and deposition transcripts, travel and lodging expenses, electronic legal research, e-

 discovery management, storage fees, copying costs, telephone and fax, and

 messenger/mail services. See id.', see also paragraphs 60 and 61, infra.

       59.    Exhibits "C" and "D" were prepared from time records regularly

 prepared and maintained by the Keefe Law Firm. Upon the Court's request.

 Counsel will produce these underlying records to the Court in camera.

       60.    Attached as Exhibit "E" is the Certification of Joseph LoPiccolo

 detailing the time and costs of Poulos LoPiccolo. Upon the Court's request,

 Counsel will produce these underlying records to the Court in camera.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 18 of 94 PageID: 9691



       61.   Attached as Exhibit "F" is the Certification of Peter C. Lucas

 detailing the time and costs ofthe Law Office of Peter C. Lucas. Upon the Court's

 request, Counsel will produce these underlying records to the Court in camera.

       62    Attached as Exhibit"G" is the firm resume ofthe Keefe Law Firm.

       63.   Attached as Exhibit"H" is the firm resume of the Poulos LoPiccolo.

       64.   Attached as Exhibit "I" is the firm resume of the Law Office of Peter

 C. Lucas.


       65.   The Exhibits attached to this Certification are true and accurate

 copies.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 19 of 94 PageID: 9692



      I declare under penalty of law under the laws of the United States that the

 foregoing is true and correct. Executed in Red Bank on October 25,2019.



                                           /s/ John E. Keefe. Jr.
                                           JOHNE.KEEFE,JR.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 20 of 94 PageID: 9693




                      EXHIBIT "A
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 21 of 94 PageID: 9694




                         SETTLEMENT AGREEMENT AND RELEASE


           This Settlement Agreement and Release is entered into by Plaintiff Andrew Manesis with

  Defendant FCA US LLC,subject to the approval of the Court.

  I.       DEFINITIONS.


           Plaintiff, Andrew Manesis, and Defenant FCA US LLC,agree that, wherever used in this

  Settlement Agreement and Release, the following words and terms shall have the meanings set

  forth below, and that, where appropriate, terms used in the singular shall be deemed to include

  the plural and vice versa.

           A.    "Claim" means all claims, demands, actions, suits, causes of action, allegations of

  wrongdoing and liabilities that are injunctive in nature asserted by Plaintiff, individually and as

  Class Representative in the Litigation, and all claims for injunctive relief, whether or not known

  or existing at the time ofthis Settlement Agreement, that arise out of the facts alleged in the

  Complaint filed in the Litigation.

           B.    "Class" means all individuals who purchased or leased in the United States a

  vehicle manufactured by FCA US LLC on or after June 10, 2009 and through the date of the

  execution ofthis settlement agreement, which is equipped with a factory installed sunroof.

           C.    "Class Counsel" means John E. Keefe, Jr. and Stephen T. Sullivan, Jr. ofthe

  Keefe Law Firm, Joseph LoPiccolo and John N. Poulos of Poulos LoPiccolo PC, and Peter C.

  Lucas of Law Offices of Peter C. Lucas, LLC.

           D.    "Class Member" means any person who falls within the definition of the Class.

           E.    "Class Vehicle" means all the vehicles which fall within the definition of the

  Class.


           F.    "Court" means the United States District Court for the District of New Jersey.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 22 of 94 PageID: 9695




         G.     "Effective Date" means the first date after the Court enters a Final Order and

  Judgment and ail appellate remedies have been exhausted. If there are no timely objectors, and

  thus no one with standing to appeal, the Effective Date shall be the first date after the Court

  enters a Final Order and Judgment, or, if there are objectors, the Effective Date shall be the first

  day after all appellate rights with respect to the Final Order and Judgment have expired or been

  exhausted in such manner as to affirm the Final Order and Judgment.

         H.     "FCA US" means the defendant in the Litigation, FCA US LLC,and each of its

  past or present directors, officers, employees, agents, insurers, shareholders, attorneys, advisors,

  consultants, representatives, partners, affiliates, parents, subsidiaries,joint venturers,

  independent contractors including its authorized dealerships, related companies, and divisions,

  and each of their predecessors, successors, heirs, and assigns.

         I.     "Final Order and Judgment" means an order approving this Settlement

  Agreement pursuant to Federal Rule of Civil Procedure 23(e)(2) and entering judgment on the

  terms stated herein.


         J.     "Litigation" means the lawsuit entitled David Cox v. FCA US LLC, Case

  No. 3:14-cv-07573, which is pending in the United States District Court for the District of

  New Jersey.

         K.     "Parties" means FCA US and Plaintiff, individually and as the representative of

  the Class.


          L.    "Plaintiff or "Class Representative" means Andrew Manesis.

          M.    "Settlement Agreement" or "Settlement" means this document, which is the

  agreement of the Parties to resolve the Litigation.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 23 of 94 PageID: 9696




  II.    RECITALS.


         WHEREAS,Plaintiff is the named plaintiff and proposed class representative in the

  Litigation and asserts claims for 1) breach of express warranty, 2)breach of implied warranty,

  3) violation of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et seq., 4)injunctive and

  equitable relief, 5)violation of the New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1, et seq., and

  6)Unfair and Deceptive Act Practices Under State Laws, all of which are based on allegations

  that FCA US sold the Class Vehicles equipped with sunroofs that have a propensity to leak; and

         WHEREAS,FCA US denies that Plaintiffs Claims are meritorious and denies that it is

  legally liable to Plaintiff or any member ofthe Class for any ofthe matters asserted in the

  Litigation; and

         WHEREAS,the Litigation has proceeded for over 41/2 years, during which time the

  Parties engaged in pretrial activities and motion practice, including conducting written discovery

  and depositions, producing and reviewing documents, and retaining and deposing experts; and

         WHEREAS,the Parties participated in two all-day, in-person mediation sessions with

  Bradley Winters, Esq., and then in a mediation session with, and multiple follow-up calls and

  emails with, Magistrate Judge Tonianne J. Bongiovanni of the United States District Court for

  the District of New Jersey; and

         WHEREAS,through the significant arm's-length settlement negotiations the Parties

  ultimately reached an agreement to settle the Litigation; and

         WHEREAS,Plaintiff and Class Counsel have (a) conducted a thorough investigation and

  evaluation of the facts and law relating to the Claims asserted to determine how best to serve the

  interests of Plaintiff and the Class,(b) retained expert consultants to analyze the alleged defect
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 24 of 94 PageID: 9697




  issues associated with sunroof water leaks, and (c) reviewed documentation provided by putative

  Class Members regarding their experiences with sunroof water leaks; and

         WHEREAS,Plaintiff and Class Counsel believe the Claims have merit but recognize and

  acknowledge the expense, length, and risks of continued proceedings that would be necessary to

  prosecute them against FCA US through trial and appeals, and, taking into account the uncertain

  outcome and risk of any litigation especially in complex actions such as this, have determined

  that the proposed Settlement is in the best interests ofthe Class and represents a fair, reasonable,

  and adequate resolution of the Litigation;

         WHEREAS,FCA US has concluded that Settlement is desirable to resolve, finally and

  completely, all pending and potential Claims of Plaintiff and all Class Members and all Claims

  which were or could have been asserted by Plaintiff and the Class in this Litigation relating to

  the alleged practices and defects at issue; and

          WHEREAS,the undersigned Parties believe that this Settlement Agreement offers

  significant benefits to Class Members and is fair, reasonable, adequate, and in the best interests

  of all Class Members;

         NOW,THEREFORE,IT IS HEREBY STIPULATED AND AGREED,by and

  among the undersigned Parties, as follows:

  HI.    TERMS OF SETTLEMENT AGREEMENT.


         In consideration for the release provided herein and for the dismissal of the Litigation

  with prejudice, FCA US agrees, under the terms of this Settlement Agreement, to provide

  benefits to Class Members as follows:
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 25 of 94 PageID: 9698




         A.      Future Owner's Manuals.


         FCA US shall include in future Owner Manuals {i.e., those that have not yet been finally

  approved for publishing) information relative to sunroof maintenance.

         B.      Request To Dealerships For Posting Regarding Sunroof Maintenance.

         FCA US shall provide its authorized dealerships with a one page document indicating

  that sunroofchannels should be periodically cleaned of debris and request that each dealership

  post the document in its customer service or waiting area.

         C.      Communication To Warranty Departments.

         FCA US shall send a communication to its warranty department(s) reiterating that water-

  related sunroof issues are covered under the 3 year/36,000 mile Basic Limited Warranty.

  IV.    SETTLEMENT APPROVAL PROCESS.


         The Parties acknowledge that prompt approval, consummation, and implementation of

  this Settlement Agreement are essential. The Parties shall cooperate with each other in good

  faith to carry out the purposes of and effectuate this Settlement Agreement, shall promptly

  perform their respective obligations hereunder, and shall promptly take any and all actions and

  execute and deliver any and all additional documents and all other materials and/or information

  reasonably necessary or appropriate to carry out the terms ofthis Settlement Agreement and the

  transactions contemplated hereby.

         A.      Notice to Class Members


         The Parties agree that, because the relief provided to the Class is injunctive only and

  because Plaintiff and Class Members are releasing claims only for injunctive relief, no notice to

  the Class is necessary and will not be issued.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 26 of 94 PageID: 9699




         B.      Approval of Settlement

         Promptly after execution of this Settlement Agreement by the Parties, Plaintiff shall

  present this Settlement Agreement to the Court for review and shall move for entry of a Final

  Order and Judgment substantially in the form attached hereto as Exhibit A, which shall provide:

         1.      This Settlement Agreement is fair, reasonable, and adequate;

         2.      No Class Notice shall issue;

         3.      Attorney fees, costs, and service awards shall be paid as provided herein;

         4.      The release specified herein is binding and effective as to all Class Members;

         5.      Judgment is entered on the terms stated herein; and

         6.      The Court retains jurisdiction over the Parties and Class Members to enforce the

                 terms of the Final Order and Judgment.

         Upon entry ofthe Final Order and Judgment, this Litigation shall be dismissed, on its

  merits and with prejudice with respect to Plaintiff and all Class Members,subject to the

  continuing jurisdiction of the Court.

  V.     OBJECTIONS BY CLASS MEMBERS.


         In the event any Class Member moves to intervene for the purpose of objecting to this

  settlement, the Parties agree to jointly oppose such intervention and to request that the Court

  order the proposed intervenor to 1) provide proof of ownership of a Class Vehicle, 2) provide a

  detailed list of any other objections submitted by the objector, or the objector's counsel, to any

  class action settlements submitted in any court, whether state, federal, or otherwise, in the United

  States in the previous five years or to affirmatively attest in writing that there have never been

  any such objections, 3)to show cause why the Settlement Agreement should not be approved as

  fair, reasonable, and adequate, and 4)to allow the Parties, at their option, to obtain written
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 27 of 94 PageID: 9700




  discovery from and depose the proposed intervenor and to tax the costs for such discovery

  against the proposed intervenor if it is determined that the motion seeking intervention and/or

  proposed objection is frivolous or made for an improper purpose.

  VI.    RELEASE.


         1.      Upon entry of the Final Order and Judgment, Plaintiff and Class Members forever

  release and discharge all Claims for injunctive relief related to, and arising out of, any failure by

  FCA US to provide an instruction or warning related to sunroof maintenance that have been

  brought or could have been brought against FCA US, whether known or unknown, asserted or

  unassorted, under or pursuant to any statute, regulation, or common law.

         2.      Plaintiff and the Class Members recognize that, even if they later discover facts in

  addition to or different from those which they now know or believe to be true, they nevertheless

  agree that, upon entry of the Final Order and Judgment, Plaintiff and the Class Members fully,

  finally, and forever settle and release any and all Claims against FCA US for injunctive relief

  related to, and arising out of, any failure by FCA US to provide an instruction or warning related

  to sunroof maintenance that have been brought or could have been brought against FCA US.

         3.      The Parties acknowledge that the foregoing waiver and release was bargained for

  and is a material element ofthe Settlement Agreement.

         4.      The Release shall be effective with respect to all Class Members.

         5.      The Settlement Agreement and Release do not release claims for personal injury

  or property damage.

  VII.   CONTINUING JURISDICTION OF THE COURT.

          1.     The administration and consummation of the Settlement Agreement shall be

  under the authority ofthe Court. The Court shall retain jurisdiction to protect, preserve, and
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 28 of 94 PageID: 9701




  implement the Settlement Agreement. The Court retains jurisdiction to enter such further orders

  as may be necessary or appropriate in administering and implementing the terms and provisions

  ofthe Settlement Agreement, including, but not limited to. Orders enjoining Class Members

  from prosecuting Claims that are released pursuant to the Settlement Agreement and allowing for

  discovery related to objecting persons.

         2.      Upon issuance ofthe Final Order and Judgment: (i) the Settlement Agreement

  shall be the exclusive remedy for any and all Class Members for the claims released herein;

  (ii) FCA US shall not be subject to liability or expense of any kind to any Class Member(s)for

  reasons related to the Litigation except as set forth herein; and (iii) Class Members shall be

  permanently barred from initiating, asserting, or prosecuting any and all released Claims against

  FCA US.


  VIII. ATTORNEY FEES AND COSTS.


         1.      Plaintiff, through Class Counsel, shall petition the Court for an attorneys' fee

  award, cost award, and for a Class Representative service award. Subject to entry of the Final

  Order and Judgment, and with Court approval, FCA US agrees not to object to a motion seeking

  an award of attorneys' fees, costs, and Class Representative service awards, so long as the

  amounts do not exceed the following: Three Hundred Fifty Thousand Dollars ($350,000.00)for

  attorneys' fees; One Hundred Twenty-Eight Thousand Eight Hundred Seventy-Three Dollars and

  Seventy-Nine Cents($128,873.79)for costs; and Four Thousand Dollars($4,000.00)for an

  incentive award for Plaintiff. FCA US agrees to pay the attorneys' fees, costs, and service award

  not exceeding the amounts identified herein separate and apart from, and in addition to, the relief

  provided to the Class Members. FCA US will issue to the Keefe Law Firm one check in the

  amount approved by the Court for attorneys' fees, costs, and the service award. Class Counsel
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 29 of 94 PageID: 9702




  agree that they will assume all liabilities related to, and arising out of, the proper distribution of

  the check.


         2.      Class Counsel and Plaintiff shall be entitled to payment of the fees, expenses, and

  service awards awarded by the Court within thirty(30)days of the Effective Date of the Court's

  entry of the Final Order and Judgment and the Order awarding such fees and costs. The Keefe

  Law Firm must provide to FCA US,immediately upon entry of the Final Order and Judgment, a

  completed W-9 form to be used for payment ofthe attorneys' fees, costs, and service award. In

  the event that the Final Order and Judgment is reversed in whole or part on appeal, only that

  portion of an attorneys' fee and/or cost award and/or service award that is affirmed shall be paid

  to Class Counsel.


          3.     Except as otherwise provided in this Settlement Agreement, each party to this

  Settlement Agreement shall bear his, her, or its own attorneys' fees and costs of the Litigation.

  IX.     MISCELLANEOUS PROVISIONS.


          A.      Choice of Law.


          This Settlement Agreement shall be governed by, and construed in accordance with, the

  substantive laws of the State of New Jersey without giving effect to any choice or conflict of law

  provision or rule that would cause the application of the laws of any other jurisdiction.

          B.      Termination by the Parties.

          Either party, at its discretion, may terminate and rescind the Settlement Agreement and

  Release if all of the terms herein, including but not limited to the terms related to Class notice,

  are not finally approved by the Court. Either party can exercise this option upon written notice

  to counsel within fourteen (14)days ofthe date on which the Court denies any motion seeking

  final approval of this Settlement Agreement.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 30 of 94 PageID: 9703




         C.      Not Evidence.


         The Parties understand and acknowledge that this Settlement Agreement constitutes a

  compromise and settlement of disputed Claims. No action taken by the Parties, either previously

  or in connection with the negotiations or proceedings connected with this Agreement, shall be

  deemed or construed to be an admission of the truth or falsity of any claims or defenses

  heretofore made or an acknowledgment or admission by any party of any fault, liability or

  wrongdoing of any kind whatsoever to any other party.

         Neither this Settlement Agreement nor any act performed or document executed pursuant

  to or in furtherance of it(a) is, or may be deemed to be, or may be used as, an admission of, or

  evidence of, the validity of any Claim made by Plaintiff or Class Members, or of any

  wrongdoing or liability of FCA US, or(b) is, or may be deemed to be, or may be used as, an

  admission of, or evidence of, any fault or omission ofFCA US in any proceeding in any court,

  administrative agency, or other tribunal.

         To the extent permitted by law, this Settlement Agreement may be pleaded as a full and

  complete defense to, and may be used as the basis for an injunction against, any action, suit, or

  other proceeding that may be instituted, prosecuted, or attempted against FCA US or in breach of

  this Settlement Agreement.

          This provision shall survive the expiration or voiding ofthe Settlement Agreement.

         D.       Headings.

         The headings of the sections and paragraphs of this Settlement Agreement are included

  for convenience only and shall not be deemed to constitute part ofthis Settlement Agreement or

  to affect its construction.




                                                  10
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 31 of 94 PageID: 9704




         E.     Effect of Exhibits.


         The exhibit to this Agreement is an integral part ofthe settlement and is expressly

  incorporated and made a part of this Settlement Agreement.

         F.     Entire Agreement.

         This Settlement Agreement represents the entire agreement and understanding among the

  Parties and supersedes all prior proposals, negotiations, agreements, and understandings relating

  to the subject matter of this Agreement. The Parties acknowledge, stipulate, and agree that no

  covenant, obligation, condition, representation, warranty, inducement, negotiation, or

  understanding concerning any part or all ofthe subject matter ofthis Agreement has been made

  or relied on except as expressly set forth in this Settlement Agreement. No modification or

  waiver of any provisions of this Settlement Agreement shall in any event be effective unless the

  same shall be in writing and signed by the person or Party against whom enforcement ofthe

  Settlement Agreement is sought.

         G.      Counterparts.

         This Settlement Agreement may be executed in one or more counterparts, each of which

  shall be deemed an original as against any Party who has signed it, and all of which shall be

  deemed a single agreement.

         H.      Arm's-Length Negotiations.

         The Parties have negotiated all ofthe terms and conditions of this Settlement Agreement

  at arm's length. The provisions for attorneys' fees, costs and service awards set forth herein

  were negotiated separately from, and after agreement was made on, the provisions for relief to

  Class Members.




                                                  11
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 32 of 94 PageID: 9705




         All terms, conditions, and exhibits in their exact form are material and necessary to this

  Settlement Agreement and have been relied upon by the Parties in entering into this Settlement

  Agreement.

         The determination of the terms of, and the drafting of, this Settlement Agreement has

  been by mutual agreement after negotiation, with consideration by, and participation of, all

  Parties and their counsel. Since this Settlement Agreement was drafted with the participation of

  all Parties and their counsel, the presumption that ambiguities shall be construed against the

  drafter does not apply. The Parties were represented by competent and effective counsel

  throughout the course of settlement negotiations and in the drafting and execution of this

  Settlement Agreement, and there was no disparity in bargaining power among the Parties to this

  Settlement Agreement.

         I.      Good Faith.


         The Parties acknowledge that prompt approval, consummation, and implementation of

  this Settlement Agreement is essential. The Parties shall cooperate with each other in good faith

  to carry out the purposes of and effectuate this Settlement Agreement, shall promptly perform

  their respective obligations hereunder, and shall attempt to resolve any dispute that may arise

  under this Settlement Agreement expeditiously and in a good faith.

         J.      Continuing Jurisdiction.

         The Parties agree the Court may retain continuing and exclusive jurisdiction, over them

  and all Class Members,for the purpose ofthe administration and enforcement of this Settlement

  Agreement.




                                                  12
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 33 of 94 PageID: 9706




            K       Service of Notice.

            Whenever,under the terms ofthis Settlement Agreement,a person is required to provide
     service or mitten notice to FCA US or Plaintifis,such service or notice shall be directed to the

     individuals and addresses specified below,unless those individuals or their successors give
     notice to the other parties in writing:

            As to PlaintiS:         John E.Keefe, Jr.
                                    Stephen T.Sullivan, Jr.
                                    Keefe Law Firm
                                    125 HalfMile Road,Suite 100
                                    Red Bank,New Jersey 07701


            As to FCA US:           KathyA. Wisniewski
                                    Stq)hen A.D'Aunoy
                                    Thompson Cobum LLP
                                    One US Bank Plaza
                                    St Louis, MO 63101
            IN WITNESS HEREOF,each ofthe Parties hereto has caused this Agreementto be
     executed, aU as ofthe day(s)set forth below.

     Dated: October JL.2019                          ANDREW MANESIS


                                               By:                               <-


                                                     Andrew Manesis
                                                     Individually and as Representative ofthe Class


     Dated* October      ,2019                       KEEFE LAWEIRM


                                               By:
                                                     John. E. Keefe, Jr.
                                                     Stephen T. Sullivan, Jr.
                                                     Class Counsel




                                                       13
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 34 of 94 PageID: 9707




          K.      Service of Notice.

          Whenever, under the terms ofthis Settlement Agreement, a person is required to provide
   service or written notice to FCA US or Plaintiffs, such service or notice shall be directed to the

   individuals and addresses specified below, unless those individuals or their successors give
   notice to the other parties in writing:

          As to Plaintiff:        John E. Keefe, Jr.
                                  Stephen T. Sullivan, Jr.
                                  Keefe Law Firm
                                  125 Half Mile Road, Suite 100
                                  Red Bank,New Jersey 07701


          As to FCA US:           Kathy A. Wisniewski
                                  Stephen A. D'Aunoy
                                  Thompson Cobum LLP
                                  One US Bank Plaza
                                  St. Louis, MO 63101
          IN WITNESS HEREOF,each ofthe Parties hereto has caused this Agreement to be
   executed, all as ofthe day(s)set forth below.


    Dated: October     ,2019                       ANDREW MANESIS


                                             By:
                                                   Andrew Manesis
                                                   Individually and as Representative ofthe Class

    Dated: October/P.2019                          KEEFE LAW FIRM




                                                   lohn. E. KeefeJ Jr.
                                                   Stephen T. Spllivan, Jr.
                                                    lass CouHfel




                                                     13
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 35 of 94 PageID: 9708




    Dated: October *7.2019               POULOS LoPICCOLO PC


                                   By:
                                         ^epttlsSPiccolo
                                         JohnN.Poulos
                                         Class Counsel



                 1
    Dated: October _L2m                  LAW OJ    CESX)F PETER C.LUCAS,LLC

                                   By:
                                         Peter C.Lucas
                                         Class Counsel




    Dated: October   ,2019               JANET DELECKE


                                   By:
                                         Janet Delecke
                                         Senior Counsel
                                         ForFCA USLLC




    APPROVED AS TO FORM ONLY;


    Dated: October   ,2019   By:
                                         Kathy A. Wisniewski
                                         Stephen A.D'Aunoy
                                         THOMPSON COBURN LLP
                                         One US Bank Plaza
                                         St Louis, MO 63101

                                         Attorneysfor Defendant FCA USLLC




                                            14
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 36 of 94 PageID: 9709




      Dated: October   ,2019            POULOS LoPICCOLO PC


                                  By:
                                        Joseph LoPiccolo
                                        John N.Poulos
                                        Class Counsel


      Dated: October   ,2019            LAW OFFICES OF PETER C.LUCAS,LLC


                                  By:
                                        Peter C. Lucas
                                        Class Counsel




      Dated: October /0,2019            JANET DELECKE


                                  By:
                                        JtO^et Delecke
                                        Senior Counsel
                                        ForFCA USLLC




      APPROVED AS TO FORM ONLY;


     Dated; October]^.2019 By:             i^A. Wisniewski
                                        Stephen A. D'Aunoy
                                    'THOMBSON COBURN LLP
                                        One Ua Bank Plaza
                                        StLoids,MO 63101

                                        Attorneysfor Defendant FCA USLLC




                                         14
   -'V   .   '




Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 37 of 94 PageID: 9710




                                                                                  ■   :s;:;\

                                                                                               ^ ?-
                                                                                               . <:




                            EXHIBIT A
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 38 of 94 PageID: 9711




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


  DAVID COX,etal.                                   Case No. 3:14-cv-7573(MAS)(DEA)

                        Plaintiffs,                 Hon. Michael A. Shipp
                                                    United States District Judge
  vs.



  CHRYSLER GROUP LLC,

                        Defendant.



              ORDER GRANTING FINAL APPROVAL OF CLASS SETTLEMENT'

         The parties have entered into a Settlement Agreement("Settlement") which resolves this

  putative class action. Plaintiff Andrew Manesis has filed a motion for final approval ofthe

  Settlement, which Defendant FCA US LLC supports. The Court has read and considered the

  Settlement Agreement and finds there is a sufficient basis for certifying the proposed class for

  settlement purposes and granting final approval of the Settlement.

         The Court now GRANTS the motion for final approval and makes the following findings

  and orders:


                                      Approval Of The Settlement


         1.      The Court approves the proposed Settlement, finding that its terms are fair,

  reasonable, and adequate. The Court further finds that the parties entered into the Settlement

  Agreement in good faith, following arm's-length negotiations between their respective counsel

  and with the assistance of neutral mediators, including Magistrate Judge Tonianne J.

  Bongiovanni ofthe United States District Court for the District of New Jersey.



         'This Order incorporates by reference the definitions in the Settlement Agreement
  executed by the Parties, and the terms used in this Order shall have the defined meanings set
  forth in the Settlement Agreement.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 39 of 94 PageID: 9712




         2.      The Court appoints Plaintiff Andrew Manesis as Class Representative, and John

  E. Keefe, Jr. and Stephen T. Sullivan, Jr. of the Keefe Law Firm, Joseph LoPiccolo and John N.

  Poulos of Poulos LoPiccolo PC,and Peter Lucas of Law Offices of Peter C. Lucas, LLC as

  Class Counsel.


                               Certification Of The Settlement Class

         3.      The Court certifies the following settlement class pursuant to Rule 23 ofthe

  Federal Rules of Civil Procedure:


         All individuals who purchased or leased in the United States a vehicle
         manufactured by FCA US LLC on or after June 10, 2009 and through the date of
         the execution of the Settlement Agreement, which is equipped with a factory
         installed sunroof

         4.      The Court finds that the requirements of Rule 23(a) of the Federal Rules of Civil

  Procedure are met. Joinder of all members of the class in a single proceeding would be

  impractical, if not impossible, because ofthe number of Class Vehicles sold, and their

  dispersion, nationwide. There are common questions of law and fact among the Class Members,

  i.e., the Class Members' Claims depend on whether or not a warning or instruction was needed

  regarding sunroof maintenance due to an alleged propensity of the sunroofs in the Class Vehicles

  to leak. Plaintiffs Claims are typical ofthose of the Class because he purchased a Class Vehicle

  and complains ofthe same lack of allegedly necessary sunroof maintenance instructions that

  forms the basis of Class Members' Claims. Plaintiff and his counsel will fairly and adequately

  protect the interests of the Class as there are no antagonistic interests among Plaintiff and Class

  Members, and both Plaintiff and Class Counsel have vigorously prosecuted this Litigation

  through discovery, the retention of experts, and the negotiation ofthe Settlement Agreement.

  The Court finds that Class Counsel is experienced in class actions and has acted in the interest of

  Class Members in the prosecution ofthis Litigation.


                                                   2-
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 40 of 94 PageID: 9713




         5.      The Court further finds that the requirements of Rule 23(b)(2) ofthe Federal

  Rules of Civil Procedure are met in that FCA US allegedly did not provide Class Members

  instructions on sunroof maintenance as a matter of course, and thus final injunctive relief aimed

  at remedying the absence of such instructions is appropriate for the Class as a whole.

                                             Class Notice


         6.      The Court finds that notice to the Class is not necessary and will not issue. The

  settlement is approved under Rule 23(b)(2). As the Third Circuit recently held, Rule 23(b)(2)

  settlements generally provide an "indivisible" injunctive remedy which will "provide relief to all

  class members equally," and thus procedural protections such a "notice of the action or the

  opportunity to opt out" are not necessary. In re Google Inc. Cookie Placement Consumer

  Privacy Litig., 934 F.3d 316, 328(3d Cir. 2019). The relief being provided here is of this nature.

  No monetary relief is contemplated and only the claims for injunctive relief are being released.

  Thus, the Court finds that class notice is not required.

                                       The Relief To The Class


         7.      The Court finds that that the following injunctive relief being provided by

  FCA US to the Class is fair, adequate, and reasonable in exchange for the release being provided

  by Class Members:

         • Including in future Owner Manuals information relative to sunroof

              maintenance;

         • Provision of a one page document to FCA US authorized dealerships

              indicating that sunroof channels should be periodically cleaned of debris along

              with a request that each dealership post the document in its customer service

              or waiting area; and



                                                    3-
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 41 of 94 PageID: 9714




           • A communication to FCA US warranty department(s) reiterating that water-

                  related sunroof issues are covered under the 3 year/36,000 mile Basic Limited

                  Warranty.

                                        Release Bv Class Members

           8.        Pursuant to the Settlement Agreement, Plaintiff and Class Members hereby

    forever release and discharge all Claims for injunctive relief related to, and arising out of, any

    failure by FCA US to provide an instruction or warning related to sunroof maintenance that have

    been brought, or could have been brought, against FCA US, whether known or unknown,

    asserted or unassorted, under or pursuant to any statute, regulation, or common law. Plaintiff and

    Class Members expressly waive and relinquish the Claims released herein to the fullest extent

    permitted by law. The release herein applies even if Plaintiff or Class Members subsequently

    discover facts in addition to or different from those which they now know or believe to be true.

    The release shall be effective with respect to all Class Members, but is not intended to, and does

    not, release claims for personal injury or property damage.

                                       Objecting To The Settlement


           9.        The Court set this case for a final approval hearing on the public docket. Any

    Class Member could appear and object at their choosing. [No such objectors have appeared.]

    [Objectors appeared and the Court heard the objections about the settlement, but finds them to be

■   without merit and thus overrules them.]

                                   Attorneys* Fees And Incentive Award


            10.      The Court has reviewed and considered the application for attorneys' fees, costs,

    and an incentive award. FCA US has agreed to pay these items separately from the injunctive

    relief being provided to Class Members,and thus the relief to the Class will not be affected



                                                      4-
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 42 of 94 PageID: 9715




  thereby. The Court hereby awards Class Counsel a) Three Hundred Fifty Thousand Dollars

  ($350,000.00)for attorneys' fees, and b) One Hundred Twenty-Eight Thousand Eight Hundred

  Seventy-Three Dollars and Seventy-Nine Cents($128,873.79)for costs. In addition, the Court

  approves the payment of a Four Thousand Dollars ($4,000.00) incentive award by FCA US to

  Plaintiff.


                                 Judgment And Retention Of Jurisdiction


           11.   Pursuant to Rule 54(b) of the Federal Rules of Civil Procedure, the Court hereby

  enters a judgment of dismissal, with prejudice and without costs, except as specified in this

  Order. Consistent with the Settlement Agreement, it is ordered that Class Members are

  permanently barred from initiating, asserting, or prosecuting against FCA US any and all claims

  released herein, whether such claims be brought in a federal or state court in the United States or

  some other tribunal. Without in any way affecting the finality ofthis Order, the Court retains

  jurisdiction over the Parties, including all Class Members,to construe and enforce the Settlement

  Agreement. The Court retains jurisdiction to enter any orders necessary or appropriate in

  implementing the Settlement Agreement, including but not limited to orders enjoining Class

  Members from prosecuting the claims released herein.



  SO ORDERED.



  Dated:
                                                   Hon. Michael A. Shipp
                                                   United States District Court Judge




                                                   5-
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 43 of 94 PageID: 9716




                                                      55
                      EXHIBIT "B
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 44 of 94 PageID: 9717




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


  DAVID COX,et al.                            Case No. 3:14-cv-7573(MAS)(DEA)
                      Plaintiffs,             Hon. Michael A. Shipp
                                              United States District Judge
  vs.


  CHRYSLER GROUP LLC,
                                                CERTIFICATION OF PLAINTIFF,
                                                        ANDREW MANESIS
                      Defendant.


  I, Andrew Manesis, offull age, certify:
  1.    I am the named Plaintiff in this litigation. As such,I am fully familiar with the

  facts contained in this Certification.


  2.    I purchased a 2014 Jeep Compass 4WD from Dover Dodge Chrysler Jeep on

  May 28, 2013. I currently own this vehicle.

  3.    The vehicle contains a factory-installed sunroof.

  4.     At the time of purchase, the defendant, FCA US LLC, did not provide me

  with any information that the sunroof may leak or that routine maintenance was

  required to prevent such leaks.

  5.    During my ownership, my Compass has leaked on 4 occasions from the

  sunroof into the vehicle's interior.

  6.    After my sunroof began leaking, I retained the Keefe Law Firm, Poulos

  LoPiccolo, PC and the Law Offices of Peter C. Lucas as my counsel (collectively,

  "Counsel").
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 45 of 94 PageID: 9718




  7.    I have had multiple discussions with Counsel about this Action, including the

  history and prosecution of this Action, a class representative's duties and

  responsibilities to the Class, the litigation's status, and the proposed terms and

  benefits ofthe Settlement as set forth in the Settlement Agreement.

  8.    I personally and carefully reviewed the Settlement Agreement before signing

  it. Prior to signing. Counsel answered any questions that I had regarding the parties'

  negotiations or the proposed settlement terms.

  9.    As Plaintiff, I assisted Counsel in investigating the claims against the

  defendant, produced documents regarding the purchase and maintenance of my

  vehicle, and helped prepare answers to defendant's interrogatories.            I also

  participated in a deposition and produced my vehicle for inspection. I also received

  regular updates from Counsel on the litigation's status.

  10.   I understand that, as a Class Representative, I am expected to act in the best

  interests of the entire Class, even to the detriment of my own interests. I also

  understand that, as a class representative, I am not entitled to any additional

  compensation or other things of value different from what the Class or any Class

  Member may receive, although Counsel may request the Court award an incentive

  award to me for my service as class representative up to an amount not exceeding $4,

  000.00.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 46 of 94 PageID: 9719




  11.   Counsel has thoroughly discussed the proposed Settlement with me and I

  believe it is fair, reasonable and adequate. In particular, I believe the injunctive

  benefits provide substantial relief to Class members, and satisfy my complaints that

  defendant should have notified vehicle owners or lessees about the need to perform

  routine maintenance on their sunroofs. My discussions with Counsel occurred before

  and during the multiple mediation sessions and settlement conferences with the

  Court. Based upon these discussions, I voluntarily and without coercion agreed to

  the proposed Settlement.

  12.   I understand that, if litigation had continued, the Court would have decided

  motions for class certification and summary judgment and that the outcome of these

  motions may have significantly impacted the litigation for the Class and me. I also

  understand that, if the parties had not reached the proposed Settlement, the litigation

  would have likely continued for several additional years, further delaying notice to

  Class members about the need for routine maintenance.


  13.   I further understand that, had the litigation continued through trial, a jury may

  have awarded monetary compensation. Contrarily, I understand that a jury may have

  awarded minimal or no monetary compensation.

  14.   I understand that the proposed Settlement does not involve any monetary

  compensation, and, that by entering into this Settlement, Class members' claims for

  personal injuries or property damage are not released.


                                           -3-
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 47 of 94 PageID: 9720




  15.    I also understand that the Settlement provides relief that may not have been

  available at trial, in particular, placing a sunroof maintenance notice in future,

  unpublished manuals, providing notice at dealerships about sunroof maintenance and

  reminding defendant's warranty department(s) that water issues related to sunroofs

  are covered under defendant's standard warranty.

  16.    I have carefully considered the benefits and risks of continued litigation,

  including (a) the substantial amount of time and resources to be expended in

  preparing for a lengthy and complicated litigation and trial;(b) motions to dismiss the

  action before trial;(c) motions to certify or decertify the action as a class action; and

  (d) appeals by the losing parties for any of the numerous anticipated substantive

  motions or trial.


   17.   Based upon the foregoing, I believe that the proposed Settlement is fair,

  reasonable and adequate.

  18.    I also believe that Class Counsel's proposed Fees and Costs Award is

  reasonable. I understand the enormous time, expense and energy expended by

  Counsel in litigating against the defendant. I understand the enormous difficulties

  that my Counsel faced in reaching the proposed Settlement, which took several

  months to finalize, and the likely hurdles in the litigation, if the parties had not

  reached this Settlement. I am also aware that Counsel did not negotiate its proposed

  Fees and Costs Award until after the parties had reached an agreement-in-principle


                                            -4-
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 48 of 94 PageID: 9721




    on the Settlement and the Class' benefits. As such, I believe that the Court should

    grant Counsel's request for fees and costs.

            I certify that the statements made by me are true and accurate to the best ofmy

   knowledge and belief. I understand that,ifany ofthese statements are willfully false,

   I am subject to punishment.



    Date:
                                                   ANDREW MANESIS
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 49 of 94 PageID: 9722




                      EXHIBIT "C
  Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 50 of 94 PageID: 9723



                           LODESTAR FOR KEEFE LAW FIRM

Employee                        Title     Hours      Rate             Total
John E. Keefe, Jr.             Partner    255.70     650           $166,205.00
Stephen T. Sullivan, Jr.       Partner    1,428.10   500           $714,050.00

Jessica S. Allen              Counsel     226.00     450           $101,700.00
Paul DiGiorgio                Counsel     1,052.40   450           $473,580.00
John E. Keefe, Sr.           Of Counsel    4.80      625            $3,000.00

Christopher Dize              Associate    40.20     350            $14,070.00
Joshua S. Kincannon           Associate   274.70     425           $116,747.50
Liana M. Nobile               Associate   111.40     350            $38,990.00


TOTAL HOURS AND FEES                      3,393.30                $1,628,342.50
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 51 of 94 PageID: 9724




                                                      55
                      EXHIBIT "D
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 52 of 94 PageID: 9725



                              COSTS FOR KEEFE LAW FIRM

 COSTS                                                                  AMOUNT


 Courier Services and Postage (Jersey Shore Courier, Federal Express,    $1248.98
 Lawyers Service)
 Legal Research and Investigation                                       $29,267.69
 Travel Costs (transportation, parking, meals)                          $12,025.22
 Expert Costs                                                           $47,919.29
 Deposition Costs                                                       $10,279.74
 Mediation                                                               $8,371.87
 Document and Data Management and Storage                               $40,427.86
 Vehicle Exemplar Storage                                                $6,421.00
 Photocopying, Printing, Scanning                                        $1,180.96
 Subpoena Services                                                        $59.95
 Conference Call Charges                                                 $1,473.83
 Court Costs                                                             $599.00

 TOTAL COSTS                                                            $159,275.09
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 53 of 94 PageID: 9726




                                                      55
                      EXHIBIT "E
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 54 of 94 PageID: 9727



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


 DAVID COX,et al.


                             Plaintiff(s)
                    vs.
                                             Civil Action No.: 2: 14-7573

 CHRYSLER GROUP,LLC.




                             Defendant(s).




   DECLARATION OF JOSEPH LOPICOLO IN SUPPORT OF MOTION
   FOR ATTORNEYS'FEES AND REIMBURSEMENT OF COSTS AND
          CLASS REPRESENTATIVE SERVICE AWARDS

       I, Joseph LoPiccolo, declare as follows:

       1.     I am a shareholder of the law firm of Poulos LoPiccolo PC,located in

 Ocean, New Jersey. I submit this declaration in support of Plaintiffs' Counsel's

 application for an award of attorneys' fees in connection with services rendered in

 this case, as well as the reimbursement of costs incurred by my firm in connection

 with this consumer class action litigation. I have personal knowledge of the matters

 set forth herein based upon my active supervision and participation in all material

 aspects ofthe litigation.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 55 of 94 PageID: 9728



       2.    Poulos LoPiccolo has extensive class action experience. The firm

 represents individuals in class action cases litigated in the United States. Poulos

 LoPiccolo has served as co-lead counsel in numerous class actions involving cases

 brought on behalf of consumers.

       3.    Poulos LoPiccolo PC have served as co-lead counsel for Plaintiffs in

 this matter. My firm did so on a wholly contingent basis.

       4.    Poulos LoPiccolo's work in this matter included, among other things,

(a) performing legal research regarding potential causes of action prior to filing the

 Complaint in this case, (b) taking a lead role in drafting the Complaint, (c)

 performing research for and assisting in drafting oppositions to defendant's

 motions to dismiss, motions for summary judgment and motions to strike

 Plaintiffs' experts as well as performing research for and assisting in drafting

 motions for class certification ,(d) identifying and monitoring comparable cases

 involving these or other defendants, (e) participating in preparing and serving

 discovery on Defendants(f) participating in the review of hundreds ofthousands of

 pages of documents produced by defendants in response to plaintiffs' discovery

 requests,(g) assisting in drafting Plaintiffs' mediation statement,(h) participating

 in a day-long mediation and subsequent efforts to resolve this matter,(i) assisting

 in the preparation of Plaintiffs' motion for an award of attorneys' fees and
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 56 of 94 PageID: 9729



 reimbursement of expenses to co-lead counsel, and in the preparation of Plaintiffs'

 motion for final approval ofthis class action settlement.

       5.     The schedule attached as Exhibit 1 summarizes Poulos LoPiccolo's

 hours worked in this matter, indicating the amount of time spent by each Poulos

 LoPiccolo attorney and staff member who has been involved in this litigation, and

 the lodestar calculation based on my firm's current billing rates. For persons who

 are no longer employed by Poulos LoPiccolo, the lodestar calculation is based

 upon the billing rate for that person in his or her final year of employment by

 Poulos LoPiccolo. The schedule was prepared from contemporaneous, daily time

 records regularly prepared and maintained by my firm, which are available at the

 request ofthe Court for review in camera}

       6.     The hourly rates for the personnel included in Exhibit 1 are the same

 as the regular current rates charged for their services in non-contingent matters

 and/or which have been used in the lodestar cross-check accepted by courts in

 other class litigation.

       7.     As of October 24, 2019, the total number of hours expended on this

 litigation by Poulos LoPiccolo is 1,025.7 hours. The total lodestar based on Poulos

 LoPiccolo's rates as described above is $656,100.



 ^ These records may include information concerning privileged and/of confidential
 attorney-client communications or work product.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 57 of 94 PageID: 9730



       8.     My firm's lodestar figures are based upon the firm's billing rates,

 which rates do not include charges for expense items. Cost items are billed

 separately and such charges are not duplicated in Poulos LoPiccolo's billing rates.

       9.     I am familiar with the range of hourly rates typically charged by

 plaintiffs' class action counsel in the District of New Jersey, both on a current basis

 and historically. From that basis I am able to conclude that the rates charged by my

 firm are commensurate with those prevailing in the market for such legal services

 furnished in complex litigation such as this.

       10.    As detailed in Exhibit 1, Poulos LoPiccolo has incurred a total of

 $44,529.34 in un-reimbursed costs in connection with the prosecution of this

 litigation. Those costs are reflected on the books and records of my firm, which

 are available at the request of the Court. These books and records are prepared

 from expense vouchers, check records, and other source materials and are an

 accurate record of the costs as charged by the vendors. Third-party costs are not

 marked up. Upon request, we will provide the Court with copies of documentation

 for each of the costs itemized above.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 58 of 94 PageID: 9731



       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on this 24th day of October, 2019.




                                         Joseph LoPiccolo
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 59 of 94 PageID: 9732




                   T xiaiHxa
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 60 of 94 PageID: 9733



                                  EXHIBIT 1




                LODESTAR FOR POULOS LOPICCOLO PC


 Employee                       Title     Hours         Rate          Total
 John Poulos,                  Partner     141.4        650         $91,910.00
 Joseph LoPiccolo              Partner     854          650        $555,100.00

 Yessenia Rodriguez           Associate    30.3.        300         $9,090.00


 TOTAL HOURS AND                          1,025.7                   $656,100
 FEES




                    COSTS FOR POULOS LOPICCOLO PC




            Expense tvpe                     Amount

            Litigation Fund                  $ 38,000.00
            Filing and Service Fees          $ 1,608.63
            Westlaw/Pacer                    $ 3,325.40
            Travel Expenses                  $     1,272.06
            Meals                            $      170.00
            Copy/Printing                    $      153.25


            TOTALS                            $ 44,529.34
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 61 of 94 PageID: 9734




                      EXHIBIT "F
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 62 of 94 PageID: 9735



                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY




  DAVID COX,et al.                            Case No. 3:14-cv-7573(MAS)(DEA)

           Plaintiff(s)
                    vs.

                                          CERTIFICATION OF PETER C.
  CHRYSLER GROUP,LLC.                   LUCAS IN SUPPORT OF AWARD OF
                                         ATTORNEYS'FEES AND COSTS



           Defendant(s)



 I, PETER C. LUCAS,of full age, hereby declare and certify as follows:

     1.        I am an Attomey-at-Law of the State of New Jersey and a member of

  the Law Offices of Peter C. Lucas, LLC, Co-Class Counsel in the within action.

  As such, I make this Certification in support of my application for attorney's fees

  and costs in connection with the within matter.

     2.        Attached hereto as Exhibit "A" is a chart outlining the employees of

  my firm, hours worked and rates for the above matter. The chart also outlines the

 costs expended in the prosecution ofthe within matter.

      3.       I have been practicing law since 1991.1 graduated Rutgers College in

 1988 and Syracuse University College of Law in 1991. I am also a former

 President of the Monmouth Bar Association and long-time Trustee of the

 Association. I am certified by the Supreme Court of New Jersey as a Civil Trial
                                          1
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 63 of 94 PageID: 9736



 Attorney. Given my experience and background, I submit my hourly rate and that

 of my partners and associates are fair and reasonable for an attorney with similar

 credentials.


       4.       I hereby certify that the foregoing statements made by me are true. I

 am aware that if any of the foregoing statements made by me are willfully false, I

 may be subject to punishment.



                                               /s/ Peter C. Lucas
                                               PETER C. LUCAS

 Dated: October 24,2019
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 64 of 94 PageID: 9737




                                                      55
                      EXfflBIT "A
  Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 65 of 94 PageID: 9738



                              LODESTAR FOR LUCAS LAW FIRM

Employee                             Title     Hours    Rate          Total

Peter C. Lucas                      Partner    682.99   650        $443,943.50

Lourdes Lucas                       Partner     3.10    650         $2,015.00



Anna Buontempo                     Associate   17.10    450         $7,695.00

Jessica Strugibenetti              Associate   69.40    450        $31,230.00

Kristen Potter                     Associate   51.90    450        $23,355.00

Peter Doyle                        Associate   99.55    450        $44,797.50

Nicole Crismale                    Associate   36.90    450        $16,605.00



TOTAL HOURS AND FEES                           960.94              $569,641.00



                                  COSTS FOR LUCAS LAW FIRM

    COSTS                                                         AMOUNT




    Common Litigation Cost Fund                                   $38,000.00

    Costs -Mediation, St. Louis                                   $1,453.22



    TOTAL COSTS                                                   $39,453.22
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 66 of 94 PageID: 9739




                                                      95
                      EXHIBIT"G
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 67 of 94 PageID: 9740




          ^KEEFE LAW FIRM
                                          About the Firm

         With offices throughout New Jersey in Red Bank, Newark, and New Brunswick, the
  Keefe Law Firm aggressively pursues maximum recovery in plaintiffs' litigation including
  products liability, personal injury, general negligence, class actions, environmental pollution, and
  employment and consumer fraud. This geographic diversity assures immediate access to all
  Federal and State Courts and various business centers throu^out New Jersey, New York, and
  Pennsylvania.

         The Keefe Law Firm has substantial experience, skill and competency in dealing with
  class actions and complex civil litigation. Its attorneys have handled numerous mass tort and
  class matters including Rezulin, Diet-Drug, Breast Implant, Vioxx and Asbestos litigation. John
  E. Keefe, Jr., a managing partner and Certified Civil Trial Attorney, was appointed plaintiffs' co-
  lead counsel in the historic consumer fraud national class action, Talalai v. Cooper Tire &
  Rubber Co., the settlement of which is valued at between one billion ($1,000,000,000) and three
  billion ($3,000,000,000) dollars to consumers. The Keefe Law Firm has been involved in
  numerous mass tort litigation matters in recent years including asbestos/mesothelioma, defective
  medical device, diet drug, breast implant, Propulsid® and Rezulin®. The firm also has been
  appointed lead counsel or liaison coimsel on numerous matters over the past ten years, including
 Chaudhri v. Osram Sylvania, Inc., 11-5504 (D.N.J.); Ervins v. United Teletech Federal
 Financial Credit Union, MID-L-5477-12, Frank K. Cooper Real Estate #J, Inc. v. Cendant
 Corp., MRS-L-377-02, In re Royal Dutch/Shell Transport Securities Litig., 04-374(D. N.J.), In
 Re Sears, Roebuck & Co. Sec. Litig., 02-7527 (N.D. 111.), In re Vonage Initial Public Offering
 (IPO) Sec. Litig., 07-177(D. N.J.), Janes v. Ciba-Geigy Corp., MID-L-1669-01 MT, Talalai v.
 Cooper Tire & Rubber Co., MID-L-8830-00-MT, and Wrobel v. Sears, Roebuck & Co., 2-CH-
 23058(Ch. Div. 111).

         The Keefe Law Firm understands our client's costs of injuries, including medical
  expenses, lost wages, and long term care needs, as well as the disruption to emotional and
  physical well-being. That's why we work hard to recover compensation from the insurance
  companies that back the individuals or company whose negligence has resulted in an injury to
  our client. At the Keefe Law Firm, you can expect responsive service, dedicated advocacy, and a
  commitment to the best results possible for our clients.

                                       OFFICE LOCATIONS


  170 Monmouth Street                   57 Paterson Street             76 Ferry Street
  Red Bank, New Jersey 07701            New Brunswick, NJ 08901        Newark, New Jersey 07105
  Tel: 732-244-9400                     Tel: 732-253-7870              Tel: 732-274-0408
  Fax: 732-224-9400                     Fax: 732-253-7872              Fax: 732-274-0409
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 68 of 94 PageID: 9741




          ^KEEFE LAW FIRM
                                          Attorney Profiles

 John £. Keefe,Jr.

  Certified Civil Trial Attorney

          John E. Keefe, Jr. a Certified Civil Trial Attorney, has devoted much of his time to civil
 trial practice in Middlesex, Monmouth Essex and Ocean Counties, specializing in negligence and
 product liability as well as complex mass tort and class action litigation. John was admitted to
 the New Jersey bar in 1990.

         Having founded the Keefe Law Firm in 1996, John,the firm's managing partner leads the
 plaintiffs' personal injury, mass tort litigation and complex litigation department. He has tried
 numerous matters to verdict and prosecuted hundr^s of cases on behalf of victims of
 catastrophic loss. He has been appointed by the Superior Court as plaintiffs liaison counsel in an
 historic consumer fi*aud national class action, Talalai v. Cooper Tire & Rubber Co.(Docket No.:
 MID-L-8830-00-MT)the settlement of which is valued at between one billion ($1,000,000,000)
 and three billion ($3,000,000,000) dollars to consumers, John was lead counsel on behdf of
 plaintiffs in one of the largest pollution cases in New Jersey, Janes v. Ciba Geigy Corporation
 (Docket No.: MID-L-1669-01-MT). John served as local counsel in the securities class action
 litigation. In Re Sears, Roebuck & Co. Securities Litigation (Docket No. 02-C-07527) which
 resulted in a two hundred and fifteen million dollar($215,000,000)cash settlement.

        Also, John served as liaison counsel in In Re Royal Dutch/Shell Transport Securities
 Litigation - (Civil Action No.: 04-374 (JWB)) before Judge Joel Pisano and the Hormone
 Replacement Therapy Litigation (Docket No.: ATL-2093-04 MT)before Judge Carol E. Higbee.
 He has also served as Co-Counsel in a national consumer fraud class settlement in Chicago,
 Illinois on behalf of thousands of consumers nationwide. Additional matters John has handled
 include: motor vehicle wrongfiil death, product liability, disfigurement, total disability, premises
 liability, bum injuries, worksite OSHA violations, multiple trauma, hospital negligence wrongful
 death and long term care negligence involving bums and wrongful death.

        AV rated by Martindale-Hubbell, John eamed his B.A. degree fi*om Gettysburg College
 in 1987 and his Juris Doctor degree at Seton Hall University School of Law in 1990. He is
 admitted to the Bar of the State of New Jersey, U.S. District Court, District of New Jersey and
 the U.S. District Court, Northem District of Florida, and Washington D.C. John is also the First
 Vice President for the New Jersey State Bar Association.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 69 of 94 PageID: 9742




            ^KEEFE LAW FIRM
                                          Attorney Profiles

  Stephen T. Sullivan,Jr.

  Partner


        Stephen graduated magna cum laude from Trenton State College with a Bachelor of Arts
  Degree in Political Science and cum laude from Villanova University School of Law. At
  Villanova, he was a member ofthe Moot Court Board and the Villanova Law Review.

         Stephen was admitted to the New Jersey and the District Court of New Jersey Bars in
  1997. He was admitted to the Pennsylvania Bar in 2000 and the Third Circuit Court of Appeals
  in 2011. He is a member of the Middlesex County and New Jersey State Bar Associations. He
  serves on the Class Action Committee for the New Jersey State Bar Association.

           Upon graduation from law school, Stephen served as a judicial law clerk to the
  Honorable Marina Corodemus, J.S.C. in the Superior Court, Middlesex County. During his
  clerkship, he assisted Judge Corodemus in the centralized management ofmass tort and toxic tort
  litigation, including tobacco, diet drugs, and breast implants. Additionally, he worked on several
  national class actions, including the Tobacco,Phen-Fen and Norplant Contraceptive litigations.

         Since joining the Keefe Law Firm, Stephen has worked on numerous state and national
  class actions, including: Carton v. Choice Point, Inc., No. 05-5489(D. N.J.); Chaudhri v. Osram
  Sylvania, Inc., 11-5504 (D. N.J.); Eisele v. Sunrise at Jefferson, MRS-L-2045-06; Ervins v.
  United Teletech Federal Financial Credit Union, MID-L-5477-12; Frank K. Cooper Real Estate
  #7, Inc. V. Cendant Corp., MRS-L-377-02; In re Royal Dutch/Shell Transport Securities Litig.,
  04-374(D. N.J.); In re Sears, Roebuck & Co. Securities Litigation 02-C-07527(N.D. 111.); In re
  Vonage Initial Public Offering (IPO) Sec. Litig., 07-177(D. N.J.); Janes v. Ciba-Geigy Corp.,
  MID-L-1669-01 MT; Local 68 v. AstraZeneca, MON-L-3136-05; Talalai v. Cooper Tire &
  Rubber Co., MID-L-8830-00-MT; and Wrobel v. Sears, Roebuck & Co., 2-CH-23058 (Ch. Div.
  HI).
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 70 of 94 PageID: 9743




         ^KEEFE LAW FIRM
                                          Attorney Profiles

 John E.Keefe,Sr.

  Of Counsel


        Judge Keefe graduated from Rutgers University in 1^62 and from Rutgers University
 School of Law,Newark, in 1965. Appointed to the bench in 1977, Judge Keefe's judicial career
 spanned nearly twenty-five years. He retired in 2001 from his position as a Presiding Judge of
 the Appellate Division of the New Jersey Superior Court where he served for thirteen years. He
 is now ofcounsel to the Keefe Law Firm in Red Bank, New Jersey.

        Prior to this appointment to the bench, Judge Keefe was a civil trial attorney. His trial
 practice involved various areas of law, including medical malpractice, product liability and
 insurance. Shortly after becoming a judge, he was designated to supervise and administer a pilot
 project involving statewide asbestos litigation. As a result of that designation, he was
 responsible for the appointment of the first full-time Special Master in New Jersey, and
 developed uniform discovery procedures that were recognized on a national level. In 1984, he
 was appointed to the position of Presiding Judge of the General Equity Part. He served in that
 capacity and as Asbestos judge until he was appointed to the Appellate Division in July 1988.
 During his tenure in the Superior Court, Judge Keefe also served on several committees and
 chaired the Committee on Model Civil Charges and Complex Case Management.

        In addition to his judicial service. Judge Keefe has been a frequent lecturer at the Institute
 for Continuing Legal Education, the New Jersey Bar Association, and the Trial Attorneys of
 New Jersey. In June 2001, he received the Institute for Continuing Legal Education's
 Distinguished Service Award; in 2003, he was a recipient of the James McLaughlin
 Professionalism Award from the Civil Trial Bar Section of the New Jersey State Bar
 Association; and in 2005, he received the Daniel L. Golden Lifetime Achievement Award from
 the Trial Attorneys of New Jersey. Judge Keefe served as an Adjunct Professor of Law at Seton
 Hall University School of Law for 15 years. He is a member of the American Law Institute and
 participated in its Consultative Group during the formation of the Restatement (Third) of Torts:
 Product Liability. Along with Hon. William A. Drier and Eric D. Katz, Judge Keefe is an author
 ofNew Jersey Products Liability & Toxic Tort Law published by Gann Law Books.

        In addition to his of counsel duties to the firm. Judge Keefe focuses his practice on
 mediation, arbitration, complex case management, special master services, and consultation in
 connection with complex litigation.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 71 of 94 PageID: 9744




            ^Keefe law firm
                                          Attorney Profiles

  Paul DiGiorgio

  Counsel


         Paul DiGiorgio is a seasoned lawyer with extensive civil litigation experience, in addition
  to having held in-house counsel and other, non-legal, positions in private business.

          After obtaining his B.S. in Engineering fi-om Cornell University in 1987, Paul worked on
  Wall Street for a brief time, and then in the telecommunications industry; first as a product
  manager and then as a sales systems consultant. Paul then attended Seton Hdl University School
  of Law, and received his J.D. in 1993. After serving as judicial law clerk to the Honorable J.
  Norris Harding, J.S.C in the Superior Court, Middlesex County, Paul entered the practice oflaw
  in the areas of civil defense and commercial litigation.

        In 1998, Paul accepted a Corporate Counsel position with an emerging technical support
  company in South Florida - where he also served as Director of Human Resources to over 5,000
  employees and Director of Security. After an acquisition, Paul rose to U.S. Vice President of
  Human Capital Resources Management for the largest customer relationship management
  company in the world. These positions provided Paul with a broad range of practical experience
  in a diverse spectrum of legal areas, including: employment law, compliance, drafting and
  negotiating contracts and employee compensation plans, and risk management. Paul has also
  owned and managed a golf course.

         Since joining the Keefe Law Firm in 2011, Paul has been focused on developing and
  executing strategies for new business development and managing all class action discovery
  projects for the firm. He has litigated and provided vendor management, data analysis and other
  support in server large and successful consumer fi-aud class action lawsuits and settlements.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 72 of 94 PageID: 9745




                                                      55
                      EXHIBIT"H
   Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 73 of 94 PageID: 9746
               Pouuos
               LoPiccolo
               ATTORNEYS AT LAW




A Professional Corporation                                                         pouIosLoPiccoIopc
John N. Poulos ■ POUlos@pllawfirm.com
I u Ai n I «        I ^ II                                                           1305 South Roller Road
                                                                                           Ocean, NJ 07712
Joseph LoPiccolo'• lopiccolo@pllawfirm.com
*NJ & NY Bar                                                                                t. 800.757.2304
                                                                                           0. 732.757.0165
                                                                                            f. 732.358.0180

                                                                                       www.pllawfirm.cofn



                                             FIRM BIOGRAPHY

             Poulos LoPiccolo PC is a litigation law firm located in New Jersey and New
       York that has extensive experience in representing clients in class actions and
       complex litigation. Formed in September 2011, Poulos LoPiccolo is a law firm
       that has its roots from the nationally recognized and A-rated firm of Hughes
       Hubbard & Reed LLP where the founders ofPoulos LoPiccolo practiced for over a
       combined 18 years.

               The Firm's practice is diverse for a firm ofits size which involves the Firm's
       lawyers in challenging, cutting edge issues. The Firm has extensive experience in
       the areas of class actions, complex litigation, consumer protection, mass torts,
       personal injury, products liability and real estate transactions. It is the Firm's
       mission to consistently exceed its clients' expectations by giving each of them its
       undivided attention and by coming up with creative, efficient and effective
       solutions to their problems.

             With its depth of experience and aggressive advocacy skills, the Firm has
       taken on some of the most complex problems facing any business or individual,
       including:

       Representative Matters;

               Ardino, et. al. v. RetroFitness LLC., et. AL ("Retro"), et al. — Certified as
               Co-Lead Counsel in class action filed against Defendants on behalf of New
               Jersey residents who, during the proposed class period, entered into a
               Membership Agreement with Retro for use at a New Jersey location that was
               the same as or substantially similar to the Membership Agreements used in
               the Plaintiffs' transactions. It is alleged that the Membership Agreements
               violate, inter alia, the New Jersey Consumer Fraud Act and Truth-in-
               consumer Contract Warranty and Notice At("TCCWNA");
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 74 of 94 PageID: 9747



       Caruso, et al v. Work Out World CWOW"), et aL, MID-L-3112-13 - Class
       action filed against Defendants on behalf of all current New Jersey residents
       who, during the proposed class period, entered into a Membership
       Agreement. It was alleged that the Membership Agreements violate, inter
       alia, the New Jersey Consumer Fraud Act and Truth-in-consumer Contract
       Warranty and Notice At ("TCCWNA"). Final approval of a class action
       settlement valued at $7 million was ordered on December 22, 2014. Over
       57,000 class members each received a check in the amount of $49.98 and
       two 30-day VIP memberships to any WOW gym. Poulos LoPiccolo PC and
       The WolfLaw Firm were Certified as Co-Lead Class Counsel;

       Cox et al. V. Chrysler Group, LLC (n/k/a FCA US LLC), 14-cv-7573
       (MAS)(DEA), United States District Court for the District of New Jersey -
       Class action filed on behalf of all purchasers of Chrysler vehicles that have
       defective sunroofs causing water to leak inside and damage their vehicles;

       Kuzian et al. v. Electrolux Home Products, Inc., 12-cv-3930-(NHL)(AMD),
       United States District Court for the District of New Jersey - Certified as Co-
       Lead Counsel in class action filed on behalf of all purchasers of Electrolux
       and Frigidaire refrigerators that have among other defects, defective
       icemakers. This class action involves over 100,000 individuals.         Class
       action settled with a settlement valued at over $20 Million;

       Logan V. Club Metro USA, LLC, et al, MID-L-3877 - Class action filed
       against Defendants on behalf of all current New Jersey residents who,during
       the proposed class period, entered into a Membership Agreement. It is
       alleged that the Membership Agreements violate, inter alia, the New Jersey
       Consumer Fraud Act and Tnith-in-consumer Contract Warranty and Notice
       At ("TCCWNA") by providing for perpetually renewing monthly
       memberships upon expiration ofthe initial term;

       In Re: Lumber Liquidators Chinese-Manufactured Flooring Products
       Marketing, Sales Practices and Products Liability Litigation, MDL No,
       2627 - United States District Court for the Eastern District of Virginia -
       Numerous class actions filed against Lumber Liquidators alleging, among
       other causes of action, consumer fraud related to Lumber Liquidators selling
       laminate wood flooring containing formaldehyde levels above the legal limit
       despite packaging expressly stating the flooring complied with US
       formaldehyde standards.

       In Re MF Global Inc., 1 l-cv-2790-MG-SIPA, United States Bankruptcy
       Court for the Southern District of New York - Successfully represented
                                                                           2I P age
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 75 of 94 PageID: 9748



       customers in the MF Global liquidation where each customer's claim was
       100% allowed and the clients received 72% of their pre-petition misdirected
       wire funds within a 60 day period;

       In Re: Mirena Liability Litigation, Case No. 297 - Representation of
       plaintiffs against Bayer Healthcare Pharmaceuticals, Inc. alleging that the
       Mirena lUD migrated and/or perforated the plaintiffs' uterus causing severe
       injuries;

       Rito V. Castella Imports, Inc. et al, 15-civ-8395 (GBD)- United States
       District Court for the Southern District of New York. Class action filed on
       behalf of all purchasers of olive oil sold by Castella Imports that were falsely
       labeled as "Extra Virgin Olive Oil'
                                         I".




       Smerling, et. at. v, Medispa ofShrewsbury, et. al., MID-L-6340-13 - Class
       action on behalf of all current New Jersey residents who purchased a
       Groupon voucher for laser hair removal services. It is alleged that
       Defendant engaged in a bait and switch scheme in violation of the New
       Jersey Consumer Fraud Act and Truth-in-consumer Contract Warranty and
       Notice At ("TCCWNA") when it would not honor the vouchers unless
       Plaintiffs paid an additional fee. Poulos LoPiccolo PC certified as Class
       Counsel.


       In Re Transvaginal Mesh Litigation - Representing plaintiffs in both the
       Federal MDL and the New Jersey coordination related to alleged defects in
       the mesh products which are intended to provide support for prolapsed
       pelvic organs and/or the urethra when a woman's supporting muscles and
       tissue have been weakened due to age and other causes. Plaintiffs here seek
       damages for alleged injuries suffered by individuals who used pelvic mesh
       products designed, manufactured, marketed and sold by the defendant
       corporations;

       Vitale V. US Gas & Electric, Inc., 14-cv-04464(KM)(MAH), United States
       District Court for the District of New Jersey - Class action filed on behalf of
       individuals and businesses in New Jersey and 10 other states and
       Washington D.C. alleging that USGE misrepresented and failed to disclose
       material facts regarding the true nature of USGE's pricing for its gas and
       electric services. Motion for Preliminary Approval of Class Action
       Settlement currently pending.




                                                                             3IP a ge
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 76 of 94 PageID: 9749



         Enclosed herewith are the personal resumes of John N. Poulos and Joseph
  LoPiccoIo, Shareholders and Co-founders of Poulos LoPiccolo PC. More detail
  about the firm and its attorneys appear on its website, www.pllawfirm.com.




                                                                          4I P a g e
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 77 of 94 PageID: 9750

JOHN N.POULOS                                                             1305 South Roller Rd.
                                                                          Ocean NJ 07712
                                                                         email: poulos@pllawfirm.com
                                                                         Phone: (732)757-0165

                                              EDUCATION

  BROOKLYN LAW SCHOOL,                                                           Brooklyn, New York
  Juris Doctor, June 2001
  Awards:       Richardson Merit Scholarship
                CALI Excellence for the Future Award in Insurance Law

  TULANE LAW SCHOOL                                                              Crete, Greece
  Summer Abroad Program, Summer 1998

  NEW YORK UNIVERSITY                                                         ' New York,New York
  Bachelor of Arts(major politics, minor philosophy), May 1997
  Awards:      CAS Merit Scholarship

                                   PROFESSIONAL EXPERIENCE

  POULOS LOPICCOLO PC
  Co-Foimder                                                                     August 2011 - Present

         Represents clients in complex litigations and class actions in state and federal courts.
  Serving in lead coimsel roles in numerous state and national class actions and individual cases on
  behalf of hundreds of thousands of consumers related to a variety of products and services.
  Represents banks and clients in real estate transactions and litigations.

  Representative Matters
     • Kuzian et al v. Electrolux Home Products. Inc.y 12-cv-3930-(NHL)(AMD), United States
       District Court for the District ofNew Jersey- Co-Lead Class Counsel in Class action filed on
       behalfof all purchasers of Electrolux and Frigidaire refiigerators that have among other
       defects, defective icemakers. Final approval granted and settlement valued at over $20 MM;
     • Caruso, et al v. Work Out World("WOW"), et al., MID-L-3112-13 - Co-Lead Class Counsel
         representing plaintiffs in class action filed on behalf of all current New Jersey residents who,
         during the proposed class period, entered into a Membership Agreement. Final approval
         granted and settlement for over 57,000 class members valued at over $8 MM;
     • Ardino, et. al. v. RetroFitness LLC., et. Al. ("Retro"), et al. — Certified as co-lead counsel
       against Defendants on behalf of New Jersey residents who, during the proposed class period,
       entered into a Membership Agreement with Retro for use at a New Jersey location that was
       the same as or substantially similar to the Membership Agreements used in the Plaintiffs'
       transactions. It is alleged that the Membership Agreements violate, inter alia, the New Jersey
       Consumer Fraud Act and Truth-in-consumer Contract Wairanty and Notice At
       ("TCCWNA").
     • In Re Transvaginal Mesh Litigation - Representing plaintiffs in both the federal and state
       courts related to alleged defects in the mesh products which are intended to provide support
       for prolapsed pelvic organs and/or the urethra when a woman's supporting muscles and tissue
       have been weakened due to age and other causes;
     • Cox et al. V. Chrysler Group, LLC(n/k/a FCA US LLC), 14-cv-7573(MAS)(DEA),
       United States District Court for the District ofNew Jersey- Representing plaintiffs in class
         action filed on behalf of all purchasers ofChrysler vehicles that have defective sunroofs
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 78 of 94 PageID: 9751




          causing water to leak inside and damage their vehicles;
     • In Re Mirena Liability Litigation, Case No. 297- Representation of plaintiffs against Bayer
       Healthcare Pharmaceuticals, Inc. alleging that the Mirena lUD migrated and/or perforated the
       plaintiffs' uterus causing severe injuries;
     • Vitale V. US Gas <fe Electric, Inc., 14-cv-04464(KM)(MAH),United States District Court for
          the District of New Jersey - Class action filed on behalf of individuals and businesses in
          New Jersey and 10 other states and Washington D.C. alleging that USGE misrepresented and
          failed to disclose material facts regarding the true nature of USGE's pricing for its gas and
          electric services. Motion for Preliminary Approval of Class Action Settlement pending.
     • Smerling v. Medispa - Representing plaintiffs in class action filed on behalf of all current
         New Jersey residents who, during the proposed class period, purchased the same or a
         substantially similar Groupon voucher to the one purchased by Ms. Smerling.
     • Logan V Club Metro - MID-L-3877 — Class action filed against Defendants on behalf of all
       current New Jersey residents who,during the proposed class period, entered into a
       Membership Agreement. It is alleged that the Membership Agreements violate, inter alia,
       the New Jersey Consumer Fraud Act and Truth-in-consumer Contract Warranty and Notice
       At("TCCWNA")by providing for perpetually renewing monthly memberships upon
          expiration ofthe initid term.
     • First Republic Bank and Webster Bank- Represents bank in CEMAs,EMAs,refinances and
         purchaser closings. Reviews offering plans and provides recommendation for lending.

  HUGHES HUBBARD & REED LLP
  Paralegal/Managing Attorney Clerk,                                           April 1997 - May 2000

  Associate                                                                   Sept. 2001- August 2011

 In re Lehman Brothers Inc.                                                   Sept. 2008- August
 2011


  Customer Receivables Team - Represented the SIPA Trustee as the head ofcustomer receivables
  team. Responsibilities included closing out customer securities positions and failed/unsettled trades
 in DVP/RVP accounts,in-the-money and expired option trades, and unwinding ofvarious derivatives
  products. Negotiate settlements ofcustomer receivables and unwinds, resulting in the close out of
  over $60MM.

 Claims Team - Represented SIPA Trustee in claims administration and litigation arising out of
 Lehman Brothers Inc. SIPA Liquidation. Responsibilities included analyzing and determining
 thousands ofcustomer claims related to long and short secmities positions, options, To-Be-
 Announced("TBA")contracts, swaps, FX,and repurchase agreements("Repo"). Analyzed legal
 issues related to certain Securities Investor Protection Act("SIPA"), Securities Exchange Act of
 1934, and Self Regulatoiy Organizations rules such as Chicago Mercantile Exchange and FINRA.

 In re Vioxx Litigation and In re Fosamax Litination for Merck & Co.. Inc. October 2001 - August
 2008


 Member ofAffirmative Discovery Team - Drafted pleadings, motions, affirmative discovery
 requests, prepared deposition outlines, and conducted depositions. Performed and analyzed legal
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 79 of 94 PageID: 9752




 research related to the Code of Federal Regulations and numerous litigation issues. Responsible for
  management and oversight oflocal counsel in variousjurisdictions across the United States.

  Construction Arbitration and Litigation                                   May 2006 - September
 2008


 Represented general contractors in connection with contract disputes, prepared and filed mechanics
 and construction liens, negotiated settlements in excess of$10 MM.

 Class Action Defense                                                       2005

 Eusini v. Pioneer Electronics USA -Fended off class action against Pioneer involving its DVD
 players. The suit was among six parallel putative class actions filed in five states. The New Jersey
 Superior Court, Judge Waugh,granted Pioneer's motion for summaryjudgment. Member ofteam
 preparing summaryjudgment motion and attending court.

                                 BAR AND COURT ADMISSIONS

 Supreme Court ofthe United States, 2012
 New Jersey, 2001
 New York,2002
 U.S. District Court Southern District ofNew York
 U.S. District Court Eastem District ofNew York
 U.S. District Court District ofNew Jersey

                                    SPECIAL APPOINTMENTS


 Contract Arbitrator, Monmouth County Superior Court                           August 2012- Present
 Appointed by Hon. David Bauman

                                       AWARDS & HONORS

 Selected Lead Counsel, Consumer Protection, 2013-2016
 Selected Lead Counsel, Family Law,2013
 Selected,Super Lawyers magazine's "Rising Stars", 2009-2010

                             BAR MEMBERSHIP AND ACTIVITIES

 Member,Monmouth County Bar
 Appointed, Special Civil Part Team Member
 Appointed, Bylaws Committee Member
 Appointed, Civil Litigation Team member
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 80 of 94 PageID: 9753


                                    Joseph LoPiccolo
                         1305 South Roller Rd • Ocean,New Jersey 07712
                           (732)757-0165 • lopiccolo@pliawfirm.com

  EDUCATION

  ST. JOHN'S UNIVERSITY SCHOOL OF LAW,Jamaica, New York
  Juris Doctor, cum laude^ June 2003
  Honors:         Articles & Notes Editor, American Bankruptcy Institute Law Review
                  Dean's List(4 semesters)
  Activities:     Justinian Society

  TOWSON UNIVERSITY,Towson, Maryland
  Bachelor ofScience, magna cum laude. Sport Management/Business Administration, May 2000
  Honors:      Dean's List (5 semesters); Rudy Lamonica Memorial Scholarship; Robert
               Charette Academic Scholarship; Golden Key National Honor Society
  Activities:     Kappa Sigma Fraternity: Athletic Chairperson; Interfratemity Council, Executive
                  Board: Vice President ofProgramming

  EXPERIENCE


  POULOS LOPICCOLO PC,Ocean, New Jersey
  Shareholder/Owner                                                   September 2011 - Present
  Represents clients in complex litigations, class actions and personal injury cases in state and
  federal courts. Serving in lead counsel roles in numerous state and national class actions and
  individual cases on behalfof hundreds ofthousands of consumers related to a variety of products
  and services.


  Highlighted Matters
     • Cox et at. V. Chrysler Group, LLC (n/k/a FCA US LLC), 14-cv-7573 (MAS)(DEA),
         United States District Court for the District of New Jersey - Representing plaintiffs in
         class action filed on behalf of all purchasers of Chrysler vehicles that have defective
         sunroofs causing water to leak inside and damage their vehicles;
     • Kuzian et al v. ElectroluxHome Products, Inc., 12-cv-3930-(NHL)(AMD), United States
         District Court for the District of New Jersey - Certified as Co-Lead Class Counsel in
         Class action filed on behalf of all purchasers of Electrolux and Frigidaire refrigerators
         that have among other defects, defective icemakers. Class action was successfrilly
         resolved with settlement valued at $20 Million for a class size ofover 100,000;
     • Caruso, et al v. Work Out World("WOW"), et al, MID-L-3112-13 - Class action filed
         against Defendants on behalf of all current New Jersey residents who, during the
         proposed class period, entered into a Membership Agreement. It was alleged that the
         Membership Agreements violate, inter alia, the New Jersey Consumer Fraud Act and
         Truth-in-consumer Contract Warranty and Notice At("TCCWNA"). Final approval of a
         class action settlement valued at $7 million was ordered on December 22, 2014. Over
         57,000 class members each received a check in the amount of $49.98 and two 30-day
         VIP memberships to any WOW gym. Poulos LoPiccolo PC and The Wolf Law Firm
         were Certified as Co-Lead Class Counsel;
     • In Re Transvaginal Mesh Litigation - Representing plaintiffs in both the federal and
       state courts related to alleged defects in the mesh products which are intended to provide
       support for prolapsed pelvic organs and/or the urethra when a woman's supporting
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 81 of 94 PageID: 9754



       muscles and tissue have been weakened due to age and other causes;
     • In Re Mirena Liability Litigation, Case No. 297 - Representation of plaintiffs against
       Bayer Healthcare Pharmaceuticals, Inc. alleging that the Mirena lUD migrated and/or
       perforated the plaintiffs' uterus causing severe injuries;
     • Vitale V. US Gas & Electric, Inc.^ 14-CV-04464(KM)(MAH),United States District Court
       for the District ofNew Jersey - Class action filed on behalfofindividuals and businesses
       in New Jersey and 10 other states and Washington D.C. alleging that USGE
       misrepresented and failed to disclose material facts regarding the true nature of USGE's
       pricing for its gas and electric services. Motion for Preliminary Approval of Class Action
       Settlement pending.
     • Ardino, et. al. v. RetroFitness LLC., et. Al. ("Retro"), et al. - Certified as Co- Lead
       Counsel in class action filed against Defendants on behalf of New Jersey residents who,
       during the proposed class period, entered into a Membership Agreement with Retro for
       use at a New Jersey location that was the same as or substantially similar to the
       Membership Agreements used in the Plaintiffs' transactions. It is alleged that the
       Membership Agreements violate, inter alia, the New Jersey Consumer Fraud Act and
       Truth-in-consumer Contract Warranty and Notice At("TCCWNA"). .

  HUGHES HUBBARD AND REED LLP New York,New York
  Associate                                                         August 2003- September 2011
  Served in leading roles in numerous complex business litigations. Such litigations include
  representing a large pharmaceutical manufacturer company in historical national mass tort action
  involving the company's popular arthritis drug and representing the SIPA Trustee in the
  liquidation of Lehman Brother's Inc., the largest broker dealer liquidation in history. Also,
  represented one of the largest interior general construction contractors in New York, including
  obtaining a successful arbitration award of close to $1 million related to the renovation of a NYC
  community center and successfully defended against numerous mechanics lien foreclosure
  actions.


  BAR ADMISSIONS
  State ofNew York,2004
  State ofNew Jersey,2013

  COURT ADMISSIONS
  United States District Court for the Eastern District of New York
  United States District Court for the Southern District of New York
  United States District Court for the District of New Jersey

  AWARDS & HONORS
 Super Lawyers"Rising Stars", 2014-2016,New York Metro, Class Actions and Mass Torts
 Super Lawyers"Rising Stars", 2015-2017,New Jersey, Class Actions and Mass Torts

 PROFESSIONAL ACTIVITIES
  Member,New York County Bar Association
  Member,New Jersey Association for Justice
  NYCLA Inns of Court
  Volunteer, Make-A-Wish Foundation of Metro New York and Westem New York
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 82 of 94 PageID: 9755




                                                     55
                       EXHIBIT "I
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 83 of 94 PageID: 9756




         Law Offices of Peter C. Lucas T J.r
                                          725 Carol Avenue
                                            P.O. Box 490
                                         Oakhurst, NJ 07755
                                        Phone: 732-663-9100
                                          Fax: 732-663-0029




                                       Firm Resume
  Firm Profile


 Law Offices ofPeter C. Lucas, LLC is a general practice law firm established in 1997. Our
 lawyers litigate civil matters tbrou^out the state ofNew Jersey and in state, federal and
 administrative law courts. We handle cases in commercial litigation, breach ofcontract, estate
 litigation, appellate practice, serious personal injury, consumer class actions, and other practice
  matters.




 Attorney Biographies

 PETER C.LUCAS

 Peter Lucas is the Managing Partner ofthe firm. Mr. Lucas is a New Jersey Supreme Court
 Board Certified Civil Trial Attorney and has been litigating civil cases for over 25 years. Mr.
 Lucas handles matters in both Federal and State Courts and specializes in general litigation
 matters including Personal Injiuy, Labor and Employment, Commercial and Business matters
 and other general civil practice matters. As a trial attorney, Mr. Lucas has conducted trials and
 has handled numerous hearings, arbitrations, mediations, d^ositions and other discovery
 proceedings. To earn the designation ofSupreme Court Board Certified Civil Trial Attorney, Mr.
 Lucas has had to demonstrate a substantial level of experience in civil trial law, has been
 favorably evaluated by other attorneys and judges familiar with his work,has taken and passed a
 written examination in civil trial law and has had to fulfill ongoing continuing legal education
 requirements.

 Mr. Lucas is a graduate of the Syracuse University College of Law where he served as Editor-in-
 Chiefofthe Syracuse University Journal of International Law. Mr. Lucas earned his
 undergraduate degree in Economics from Rutgers College. Mr. Lucas is a member ofthe New
 Jersey and New York Bars and member ofthe United States Supreme Court Bar. Mr. Lucas is an
 active member ofthe Monmouth Bar Association and has served as Trustee for several years and
 chaired several major sections within the Association. Mr. Lucas was President ofthe Monmouth
 Bar Association for the 2013-2014 term.
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 84 of 94 PageID: 9757




  Education
     • Syracuse University College ofLaw (J.D., 1991)
              o   Editor-in-Chief, Journal ofInternational Law
     • Rutgers University(B.S., 1988)

  Admissions
     • New Jersey
     • New York
     • U.S. District Court, District ofNew Jersey
     • U.S. District Court, Southern District of New York
     • United States Supreme Court

  Awards and Recognitions
    • New Jersey Supreme Court Board Certified Civil Trial Attorney
    • President ofthe Monmouth Bar Association, 2013-14
    • New Jersey Super Lawyers



 PETER E.DOYLE


  Peter Doyle is a litigation attorney for cases in state and federal courts. He handles commercial
  and business litigation matters, trusts and estates, construction litigation, and consumer class
  actions. Prior to the joining the firm, Mr. Doyle was an attorney in the New York State Office of
  the Attomey General's Investor Protection Bureau, where he investigated ^d litigated violations
  ofsecurities laws.

  Mr. Doyle is admitted in all state courts in New Jersey and New York, as well as federal courts
  in the District ofNew Jersey and the Southern District ofNew York.

  Mr. Doyle graduated cum laude fi-om University ofNotre Dame Law School in 2012. He holds
  an undergraduate degree in Finance with Honors from the University ofMaryland. Mr. Doyle is
  a member ofthe Monmouth Bar Association.

  Education
     • University of Notre Dame Law School(J.D., cum laude,2012)
          o Jessup Intemational Law Moot Court Competition Team
     • University of Maryland (B.S, with honors, 2009)

  Admissions
     • New Jersey
     • New York
     • U.S. District Court, District of New Jersey
     • U.S. District Court, Southern District ofNew York
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 85 of 94 PageID: 9758




  LOURDES LUCAS

  Lourdes Lucas is a litigation and transactional attorney specializing in Labor and Employment
  Law and Commercial and Business Law. Other areas ofpractice include workers compensation
  matters and Criminal Defense. Prior to entering private practice, Ms. Lucas was an Assistant
  District Attorney with the New York County District Attorney's Office. Ms. Lucas also served as
  in-house corporate counsel for a telecommunications company responsible for employee
  relations, contract and lease review,regulatory issues, and general corporate matters.
  Ms. Lucas is a graduate ofthe Syracuse University College ofLaw and also holds a Masters
  Degree in International Relations from the Maxwell School at Syracuse University. She earned
  her undergraduate degree at Florida International University and is a proud Panther.
  Ms. Lucas is a member ofthe New York, New Jersey and United States Supreme Court Bars.
  She is also a member ofthe Monmouth County Bar Association. Ms.Lucas is currently serving
  as the Municipal Prosecutor for Fair Haven, New Jersey and is the Vice Chair ofthe District
  Ethics Committee. Ms. Lucas also serves as a court appointed Contract Arbitrator and is a
  qualified mediator included in the roster of Court approved mediators. Ms. Lucas is fluent in
  Spanish.

  Education
     • Syracuse University College ofLaw (J.D., cum laude, 1991)
     • Syracuse University, Maxwell School of Citizenship and Public Affairs(M.A., 1991)
     • Florida International University(B.S., 1988)

  Admissions
     • New Jersey
     • New York
     • U.S. District Court, District ofNew Jersey
     • U.S. District Court, Southern District of New York
     • United States Supreme Court
Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 86 of 94 PageID: 9759




                      EXHIBIT "J"
CM/ECF LIVE - U.S. District Court for the District of New Jersey...
                                                      https://ecf.njd.uscourts.gov/cgi-bin/HistDocQry.pl7928814954235.
            Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 87 of 94 PageID: 9760

                             3:14-cv-07573-MAS-DEA COX et al v. CHRYSLER GROUP,LLC
                                                       Michael A. Shipp, presiding
                                                        Douglas E. Arpert, referral
                                                          Date filed: 12/04/2014
                                                     Date of last filing: 09/13/2019



                                                                History
                    Doc.
                                         Dates                                     Description
                     No.

                      i    Filed:                12/04/2014 ^ Complaint
                           Entered:              12/05/2014
                      2    Filed & Entered: 12/05/2014 a Summons Issued
                      3    Filed & Entered: 12/23/2014 O Order
                      4    Filed & Entered: 12/26/2014            Notice of Appearance
                      5    Filed & Entered: 01/13/2015 <21 Order
                      6    Filed & Entered: 01/14/2015         O Notice (Other)
                      7    Filed & Entered: 01/14/2015      O Corporate Disclosure Statement(aty)
                           Filed & Entered:      01/30/2015 ^ Set/Reset Motion and R&R Deadlines/Hearings
                      8    Filed & Entered: 01/30/2015         <3 Motion to Dismiss
                           Terminated:           09/30/2015
                      9    Filed & Entered: 01/30/2015         <3 Motion to Strike
                           Terminated:           09/30/2015

                     10 Filed & Entered: 02/12/2015 <3 Letter Rule 7.1
                      11 Filed & Entered: 02/12/2015           <3 Notice of Appearance
                     12 Filed & Entered: 02/12/2015               Notice of Appearance
                           Filed & Entered: 02/13/2015 ^ Set/Reset Motion and R&R Deadlines/Hearings

                     13 Filed & Entered: 02/13/2015 ^ Stipulation
                     14 Filed & Entered: 03/02/2015    <3 Brief in Opposition to Motion
                     15    Filed & Entered: 03/02/2015 O Brief in Opposition to Motion

                     16    Filed & Entered: 03/09/2015 O Reply Brief to Opposition to Motion

                     17    Filed & Entered: 03/09/2015 O Reply Brief to Opposition to Motion

                     18    Filed & Entered: 04/13/2015 O Notice of Hearing

                     19 Filed & Entered: 04/13/2015 <3 Order
                           Filed:                04/27/2015 O Pro Hac Vice Fee Received
                           Entered:              04/29/2015
                      20 Filed & Entered: 04/30/2015           <3 Notice ofPro Hac Vice to Receive NEF
                      21 Filed & Entered: 04/30/2015 O Notice ofPro Hac Vice to Receive NEF
                      22 Filed & Entered: 04/30/2015           Q Notice ofPro Hac Vice to Receive NEF
                           Filed & Entered: 05/01/2015 O Notice ofPro Hac Vice counsel added



I of9                                                                                                       10/25/2019, 2:43 PM
CM/ECF LIVE - U.S. District Court for the District of New Jersey.
                                                      https://ecf.njd.uscourts.gov/cgi-bin/HistDocQry.pl7928814954235.
            Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 88 of 94 PageID: 9761

                           Filed & Entered: 05/1172015 ^Remark
                           Filed:               05/12/2015    O Pretrial Conference - Initial
                           Entered:             06/01/2015
                     23 Filed:                  05/12/2015    <3 Scheduling Order
                           Entered:             05/13/2015
                     24 Filed & Entered: 09/10/2015           <3 Declaration
                     25 Filed & Entered: 09/10/2015    O Discovery Confidentiality Order
                           Filed & Entered: 09/14/2015 <3 Telephone Conference
                     26    Filed   Entered: 09/30/2015 O Opinion
                     27 Filed & Entered: 09/30/2015           <3 Order on Motion to Dismiss
                     28            cS: Entered: 10/09/2015 ^ Order
                     29 7^/7^(7        Entered: 10/28/2015          Answer to Complaint
                                                12/04/2015    vJ Telephone Conference
                                                12/08/2015
                     30 Filed & Entered: 01/19/2016     ^Stipulation of Dismissal (aty)
                           F/7ei/ Entered: 01729/2016 01 Set/Reset Motion and R&R Deadlines/Hearings

                      31   Filed iSi Entered: 01/29/2016 O Motion to Quash/Compel/Enforce
                           Terminated:          03/29/2016

                     32 F/7e<7 (fe Entered: 02/19/2016 O Letter

                           Filed & Entered: 02/22/2016 <3 Set/Reset Motion and            R&R Deadlines/Hearings
                      33 F/7e<7(S: Entered: 02/22/2016 Q Order

                      M Filed & Entered: 02/26/2016 O Letter
                      35   Filed & Entered: 02/26/2016 ^Letter

                      M Filed & Entered: 03/01/2016 O Stipulation of Dismissal (aty)
                           Filed & Entered: 03/02/2016 ^ Telephone      Conference
                      37 Filed & Entered:       03/10/2016 O Notice (Other)
                      38 Filed & Entered: 03/23/2016 01 Letter

                           Filed & Entered: 03/24/2016 ^ Set/Reset Hearings                                        1
                           Filed iSc Entered: 03/29/2016      <3 QC - Incorrect Event Selected
                           Filed & Entered: 03/29/2016 01 Motion to          Withdraw
                           Terminated:          03/29/2016
                           F/7e<7 cfe Entered: 04/14/2016 3Telephone   Conference
                      40 Filed & Entered:       04/15/2016 Q Scheduling Order

                      41 F/7e<7        Entered: 04/19/2016 O Order
                      42 Filed iSc Entered: 05/3172016 ^ Order

                           F/7efif.-            06/03/2016          Pro Hac Vice Fee Received
                           Entered:             06/06/2016
                                   <& Entered: 06/14/2016 ^ Notice of Pro Hac Vice counsel added

                      43 F/7ec/(S: Entered: 06/14/2016 01 Notice ofPro Hac           Vice to Receive NEF
                      44 F/7e<7 cS: Entered: 07/12/2016 ^ Letter



2 of9                                                                                                              10/25/2019, 2:43 PM
CM/ECF LIVE - U.S. District Court for the District ofNew Jersey.
                                                      https://ecf.njd.uscourts.gov/cgi-bin/HistDocQry.pl7928814954235.
            Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 89 of 94 PageID: 9762

                     45 Filed & Entered: 07/12/2016 O Letter

                          Filed iSc Entered: 07/13/2016 O Telephone    Conference
                     46 Filed & Entered:        07/13/2016 O Scheduling Order
                     47 FZ/et/       Entered: 08/10/2016 ^Letter
                     48 FzVec/(fe Entered: 08/11/2016              Letter

                                     Entered: 08/15/2016 ^ Set/Reset Motion and R&R Deadlines/Hearings
                     49 Filed & Entered: 08/15/2016          ^ Motion for Summary Judgment
                          Terminated:           03/30/2017

                                     Entered: 08/18/2016           Set/Reset Motion and R&R Deadlines/Hearings
                          F/7e<7     Entered: 08/18/2016           Letter Rule 7.1

                     5i F77e<7 & Entered: 08/30/2016               Letter

                          Filed & Entered: 08/31/2016 O Order                                                    i
                          Filed & Entered: 09/08/2016 O Set/Reset Motion and R&R Deadlines/Hearings
                          Filed & Entered: 09/08/2016 O Motion for Miscellaneous Relief
                          Terminated:           10/05/2017
                          Filed & Entered: 09/09/2016 O Set/Reset Motion and R&R Deadlines/Hearings
                          Filed & Entered: 09/09/2016 O Letter Rule 7.1
                          F/7ei/(& Entered: 09/19/2016 ^ Motion to           Seal
                          Term inated:          10/04/2016

                     56              Entered: 09/19/2016 O Brief in  Opposition to Motion
                     iZ Filed & Entered:        09/19/2016 ^Response in Opposition to Motion

                     58 F/7e<7 cS: Entered:     09/19/2016 3Brief in Opposition to Motion
                          Filed & Entered: 09/20/2016      <3 Set/Reset Motion and R&R Deadlines/Hearings
                          Filed & Entered:      09/22/2016 ^ Set/Reset Hearings
                          Filed & Entered: 09/26/2016        ® Remark
                     59 Filed & Entered: 09/26/2016 ^ Motion to              Seal
                          Terminated:           01/17/2017
                          Filed & Entered: 09/26/2016      vJ Reply Briefto Opposition to Motion
                          Filed & Entered:      09/26/2016 <3 Reply to Response to Motion

                          Filed & Entered: 09/27/2016              Set/Reset Motion and R&R Deadlines/Hearings
                          Filed & Entered: 09/30/2016        <3 Order
                          F77e<7     Entered: 10/03/2016 O Letter
                          Filed & Entered: 10/03/2016 O Motion to            Seal
                          Terminated:           10/31/2016

                                   c& FrtZeret/.- 10/03/2016 ^ Brief in
                                                                      Opposition to Motion
                          F//ecZ c& Entered:    10/03/2016 O Brief in Opposition to Motion
                          FZ/et/ <£: Entered:   10/04/2016 ^ Set/Reset Motion and R&R Deadlines/Hearings
                          FZ/ecZ     Entered: 10/04/2016           Order on Motion to Seal

                          FZ/e^/.-              10/05/2016 ^Pro Hac Vice Fee Received
                                                10/06/2016



3 of9                                                                                                                10/25/2019, 2:43 PM
CM/ECF LIVE - U.S. District Court for the District of New Jersey..
            Case 3:14-cv-07573-TJB Document 206-4 Filedhttps://ecf.njd.uscourts.gov/cgi-bin/HistDocQry.pl7928814954235.
                                                         10/25/19 Page 90 of 94 PageID: 9763

                     6S    Filed & Entered: 10/05/2016 ^ Order
                     69             & Entered: 10/05/2016     CS Order
                      70 F/Vefl? c& Entered: 10/06/2016    vJ Reply Briefto Opposition to Motion
                     11 Filed & Entered:        10/07/2016 vJ Telephone Conference
                      72 FZ/ec?       Entered: 10/07/2016            Notice ofPro Hac Vice to Receive NEF
                                      Entered: 10/10/2016            Notice ofPro Hac Vice counsel added
                      73 Filed iSc Entered: 10/13/2016               Declaration
                      74 Filed & Entered: 10/13/2016 ^Declaration

                      75   FZ/ei/ & Entered: 10/13/2016 <3 Declaration
                      76 FZ/et/       Entered: 10/13/2016 O Declaration

                      77 Filed & Entered: 10/31/2016                 Order on Motion to Seal
                      78   Filed & Entered: 11/22/2016        <3 Letter
                      79   FZ/et/     Entered: 11/28/2016 vJ Order
                      80 FZ/ec? cS: Entered: 12/16/2016              Order

                           Filed:               01/11/2017 ^Telephone          Conference
                                                                                                                1
                                                01/31/2017

                      M Filed & Entered: 01/12/2017 vJ Letter
                           FZ/ei/ c& Entered: 01/13/2017 O Order
                           Filed & Entered: 01/17/2017 O Order on Motion to             Seal
                           Filed iSc Entered: 03/10/2017 3Set/Reset Motion and R&R Deadlines/Hearings
                           FZ/e<7     Entered: 03/10/2017 O Set/Reset Motion and R&R Deadlines/Hearings

                      M FZ/ec/ cfe Entered: 03/10/2017 ^ Motion to Certify Class
                           Terminated:          10/05/2017

                      M Filed iSc Entered: 03/10/2017                Brief in Support of Motion
                      M Filed & Entered: 03/10/2017 ^ Declaration
                           FZ/e^Z <5: Entered: 03/10/2017 ^ Motion to          Seal Document
                           Terminated:          04/06/2017

                      M Filed & Entered: 03/10/2017 3Brief in Support of Motion
                           Filed & Entered: 03/10/2017 3Declaration                                             i
                      90 FZ/ecZ       Entered: 03/10/2017 3Exhibit(to Document)

                      9i Filed & Entered: 03/13/2017 3Letter
                      92 Filed & Entered: 03/30/2017 3Memorandum

                      93 Filed & Entered: 03/30/2017          3Order on Motion for Summary Judgment             i
                      94 Filed & Entered: 04/04/2017 3Order on                Motion for Miscellaneous Relief
                      95   Filed & Entered: 04/06/2017 3Order on Motion to              Seal Document
                           Filed iSc Entered: 04/07/2017 3Set/Reset Motion and R&R Deadlines/Hearings
                      96 Filed & Entered: 04/07/2017 3Motion for Reconsideration
                           Terminated:          08/08/2017
                      97 FZ/etZ       Entered: 04/12/2017 3Letter Rule 7.1




4 of9                                                                                                               10/25/2019,2:43 PM
CM/ECF LIVE - U.S. District Court for the District of New Jersey...
            Case 3:14-cv-07573-TJB Document 206-4 Filedhttps://ecf.njd.uscourts.gov/cgi-bin/HistDocQry.pl7928814954235.
                                                         10/25/19 Page 91 of 94 PageID: 9764

                           Filed iSc Entered: 04/13/2017 d Set/Reset Motion and R&R Deadlines/Hearings
                      98 Filed & Entered: 05/01/2017 O Order

                      99 Filed & Entered: 05/01/2017 ^Brief in       Opposition to Motion
                     100 Filed & Entered:       05/24/2017 ^Brief in Opposition to Motion
                     101 Filed & Entered: 05/24/2017              Motion to Preclude
                           Terminated:           11/07/2017
                           Filed & Entered: 05/25/2017        Set/Reset Motion and R&R Deadlines/Hearings
                     102 Filed & Entered:       06/02/2017 01 Letter Rule 7.1

                           Filed & Entered: 06/05/2017            QC - Incorrect Event Selected
                     103 Filed & Entered: 06/05/2017           ® Letter
                     104 Filed & Entered: 06/06/2017              Order
                           Filed & Entered: 06/12/2017 O Telephone          Conference
                     105 Filed & Entered: 06/19/2017              Brief in Opposition to Motion
                     106 Filed & Entered: 06/19/2017           vJ Declaration
                     107 Filed & Entered: 06/19/2017 ^ Motion to            Seal Document
                           Terminated:          07/05/2017
                     108 Filed & Entered: 06/19/2017 CJ Brief in          Opposition to Motion
                           Filed & Entered: 06/20/2017            Set/Reset Motion and R&R Deadlines/Hearings
                     109 Filed & Entered: 06/26/2017     <3 Reply Briefto Opposition to Motion
                     110   Filed     Entered: 06/30/2017 ^ Reply Brief to Opposition to Motion

                     Hi    Filed iSc Entered: 06/30/2017 ^ Reply Brief to Opposition to Motion
                     112 Filed & Entered: 06/30/2017 ^ Motion to            Preclude
                           Terminated:           11/07/2017
                     113 Filed & Entered: 06/30/2017              Brief in Support of Motion
                     114 Filed iSi Entered: 06/30/2017        ^Brief in Support of Motion
                     115 Filed & Entered: 06/30/2017 Q Declaration

                     116             Entered: 06/30/2017 <3 Declaration
                     117 Filed & Entered: 06/30/2017           <3 Motion to Seal Document
                           Terminated:          07/28/2017

                     118 Filed & Entered: 06/30/2017 ^ Motion to Preclude
                           Terminated:           11/07/2017
                           F/7ec/    Entered: 07/05/2017 i3 Set/Reset Motion and R&R Deadlines/Hearings
                           Filed & Entered: 07/05/2017 O Set/Reset Motion and R&R Deadlines/Hearings
                                     Entered: 07/05/2017       <3 Set/Reset Motion and R&R Deadlines/Hearings
                     119 Filed iSc Entered: 07/05/2017 ^ Order on          Motion to Seal Document
                     120             Entered: 07/24/2017   ® Brief in Opposition to Motion
                     121 Filed & Entered:       07/24/2017 O Brief in Opposition to Motion
                     122 Filed & Entered:       07/24/2017 v3 Certification in Opposition to Motion
                     123 Filed & Entered: 07/28/2017 ^ Order on            Motion to Seal Document



5 of9                                                                                                           10/25/2019,2:43 PM
CM/ECF LIVE - U.S. District Court for the District of New Jersey...
                                                      https;//ecf.njd.uscourts.gov/cgi-bin/HistDocQry.pl?928814954235.
            Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 92 of 94 PageID: 9765

                     124 Filed & Entered: 07/28/2017       O Reply Brief to Opposition to Motion
                     125 Filed & Entered:       07/28/2017 O Reply Brief to Opposition to Motion
                     126 Filed & Entered:       07/28/2017 ^Reply Brief to Opposition to Motion
                     127 Filed & Entered: 07/28/2017 O Motion to           Seal Document
                           Terminated:          09/07/2017

                           Filed & Entered: 07/31/2017         vJ Set/Reset Motion and R&R Deadlines/Hearings
                     128 Filed:                 08/08/2017 ^ Opinion
                           Entered:             08/09/2017                                                       i


                     129 Filed:                 08/08/2017        Order on Motion for Reconsideration
                           Entered:             08/09/2017
                     130 Filed & Entered: 09/07/2017 ^ Order on            Motion to Seal Document
                     131 Filed & Entered: 10/05/2017 ^ Memorandum

                     132 Filed & Entered: 10/05/2017 O Order on Motion for Miscellaneous Relief

                           Filed & Entered: 10/10/2017 <3 Notice of Hearing
                     133 Filed & Entered: 11/07/2017 O Order on            Motion to Preclude
                           Filed & Entered: 11/21/2017      <3 Set/Reset Motion and R&R Deadlines/Hearings^
                           Filed iSc Entered:    11/21/2017 O Set/Reset Motion and R&R Deadlines/Hearings
                     134 Filed & Entered:        11/21/2017 O Motion to Certify Class
                           Terminated:          06/22/2018
                     135 Filed & Entered: 11/21/2017 O Brief in          Support of Motion
                     136 Filed & Entered: 11/21/2017 ^Declaration

                     137 Filed & Entered: 11/21/2017              Motion to Seal Document
                           Terminated:           11/22/2017

                     138 Filed & Entered         11/21/2017    <3 Brief in Support of Motion
                     139 Filed & Entered         11/21/2017       Declaration
                     140 Filed & Entered         11/22/2017       Order on Motion to Seal Document
                     141 Filed & Entered         11/22/2017 ^ Order
                           Filed & Entered 01/17/2018          v3l Set/Reset Motion and R&R Deadlines/Hearings
                     142 Filed & Entered        01/17/2018 ^ Motion to Preclude
                           Terminated:          06/22/2018

                     143 Filed & Entered: 01/17/2018           <3 Motion to Preclude
                           Term inated:         06/22/2018
                           Filed & Entered: 01/22/2018            Set/Reset Motion and R&R Deadlines/Hearings
                     144 Filed & Entered: 01/22/2018           O Motion to Preclude
                           Terminated:          06/22/2018

                     145 Filed & Entered: 01/22/2018   <3 Brief in Opposition to Motion
                     146   Filed & Entered: 01/30/2018 <3 Notice (Other)
                           Filed & Entered: 02/06/2018 <3 Set/Reset Motion and R&R Deadlines/Hearings
                     147   Filed & Entered: 02/06/2018 <3 Brief in Opposition to Motion
                     148   Filed & Entered: 02/06/2018 ^ Brief in Opposition to Motion




6 of9                                                                                                            10/25/2019,2:43 PM
CM/ECF LIVE - U.S. District Court for the District of New Jersey...
            Case 3:14-cv-07573-TJB Document 206-4 Filedhttps://ecf.njd.uscourts.gov/cgi-bin/HistDocQry.pl7928814954235.
                                                         10/25/19 Page 93 of 94 PageID: 9766

                     149 Filed & Entered: 02/06/2018      3Brief in Opposition to Motion
                     150 Filed & Entered:       02/06/2018 ® Brief in Opposition to Motion
                     151 Filed & Entered: 02/06/2018 ^Declaration

                     152 Filed & Entered: 02/06/2018 ^Declaration

                     153 Filed & Entered: 02/06/2018      ^Brief in Opposition to Motion
                     154 Filed & Entered:       02/06/2018 O Brief in Opposition to Motion
                     155 Filed & Entered: 02/06/2018 O Declaration

                     156 Filed & Entered: 02/06/2018 ^Declaration

                     157 Filed & Entered: 02/06/2018 O Motion to           Seal Document
                           Terminated:          06/06/2018
                     158 Filed & Entered: 02/09/2018           O Order
                     159 Filed & Entered: 02/20/2018       3Reply Brief to Opposition to Motion
                     160 Filed & Entered:       02/20/2018 O Reply Brief to Opposition to Motion
                     161 Filed & Entered:       02/20/2018 O Reply Brief to Opposition to Motion
                     162 Filed & Entered:       03/01/2018 O Reply Brief to Opposition to Motion
                     163 Filed & Entered:       03/01/2018 3Reply Brief to Opposition to Motion
                     164 Filed & Entered: 03/01/2018 3Motion to Preclude                              '
                           Terminated:          06/22/2018
                     165 Filed & Entered: 03/01/2018 01 Brief in       Support of Motion
                     166 Filed & Entered:       03/01/2018 CJ Brief in Support of Motion
                     167 Filed & Entered: 03/01/2018           <3 Declaration
                     168 Filed & Entered: 03/01/2018 01 Declaration

                     169 Filed & Entered: 03/01/2018           <3 Motion to Preclude
                           Terminated:          06/22/2018

                     170 Filed & Entered: 03/01/2018           <3 Motion to Seal
                           Terminated:          03/26/2018
                           Filed & Entered: 03/02/2018 vJ Set/Reset Motion and R&R Deadlines/Hearings:
                           Filed & Entered: 03/02/2018 <3 Set/Reset Motion and R&R Deadlines/Hearings 1

                           Filed & Entered: 03/02/2018 ^ Set/Reset Motion and R&R Deadlines/Hearings
                     171   Filed & Entered: 03/06/2018 ^Brief in Opposition to Motion
                     172   Filed & Entered: 03/08/2018 01 Brief in Opposition to Motion              '
                     173 Filed & Entered: 03/26/2018 3Order on             Motion to Seal
                     174 Filed & Entered: 03/26/2018 3Reply Brief to        Opposition to Motion
                     175 Filed & Entered:        03/26/2018 3Reply Brief to Opposition to Motion
                     176 Filed & Entered:        03/26/2018 3Reply Brief to Opposition to Motion

                     177 Filed & Entered: 03/26/2018 3Motion to Seal
                           Terminated:           04/26/2018

                           Filed & Entered: 03/27/2018 3Set/Reset Motion and R&R Deadlines/Hearings!
                     178 Filed & Entered: 04/09/2018 3Notice             of Change of Address



7 of9                                                                                                 10/25/2019,2:43 PM
CM/ECF LIVE - U.S. District Court for the District of New Jersey...
                                                       https://ecf.njd.uscourts.gov/cgi-bin/HistDocQry.pl7928814954235.
             Case 3:14-cv-07573-TJB Document 206-4 Filed 10/25/19 Page 94 of 94 PageID: 9767

                     179 Filed & Entered: 04/09/2018              Notice of Change of Address
                     180 Filed & Entered: 04/10/2018 O Notice (Other)

                     181 Filed & Entered: 04/17/2018           O Notice (Other)
                     182 Filed & Entered: 04/26/2018 O Order on           Motion to Seal
                     183 Filed & Entered: 06/06/2018              Order on Motion to Seal Document
                     184 Filed & Entered: 06/22/2018 ^ Order

                     185 Filed & Entered: 06/26/2018 ^Letter

                     186 Filed & Entered: 07/05/2018           <3 Order
                     187 Filed & Entered: 07/09/2018 ^Letter

                     188 Filed & Entered: 07/24/2018           <3 Order
                     189 Filed & Entered: 07/30/2018 ^ Telephone            Conference                1
                     190 Filed & Entered: 08/01/2018 ^ Order

                     191 Filed & Entered: 08/06/2018 ^Letter

                     192 Filed & Entered: 08/08/2018 ^ Order

                     193 Filed & Entered: 08/17/2018 O Letter

                           Filed & Entered: 08/20/2018 ^Terminated           Case                     !
                     194 Filed & Entered: 08/20/2018           <3 Order
                     195 Filed & Entered: 11/09/2018           Q Letter
                     196 Filed & Entered: 11/19/2018           O Order
                     197 Filed & Entered: 01/04/2019 O Letter

                     198 Filed iSc Entered: 01/07/2019            Order
                     199 Filed & Entered: 01/11/2019 ^Letter

                     200 Filed & Entered: 01/14/2019 01 Order

                     201 Filed & Entered: 03/01/2019 3Letter

                     202 Filed & Entered: 03/12/2019 3Order

                           Filed iSc Entered: 03/29/2019 3Settlement Conference

                           Filed & Entered: 03/29/2019 3Settlement Conference                        |
                     203 Filed & Entered: 04/12/2019 3Order on            Oral Motion
                           Filed:                06/11/2019 3Telephone      Conference
                           Entered:             06/12/2019
                     204 Filed & Entered: 07/26/2019 3Order on            Oral Motion
                     205 Filed & Entered: 09/13/2019 3Order on            Oral Motion




8 of9                                                                                                     10/25/2019,2:43 PM
